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12 OTHER TERMS/INTERPRETATION

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Wherever from the context it appears appropriate, each term stated in either the
singular or the plural shall include the singular and the plural, and pronouns stated
in the masculine, feminine, or neuter gender shall include the other genders.

Subject to Section 1.2(n), any reference in a Plan Document to a contract,
instrument, release, indenture or other agreement or document being in a
particular form or on particular terms and conditions shall mean that such
document shall be substantially in such form or substantially on such terms and
conditions. >

Any reference in a Plan Document to an existing document or exhibit in the
Exhibit Book filed or to be filed shall mean the document or exhibit as it may
have been or may be amended, modified or supplemented.

Any reference to an Entity as a Holder of a Claim or Plan Claim shall include that
Entity’s successors, assigns and affiliates.

The words “herein,” “hereof,” “hereto,” “hereunder,” and others of similar import
when used in a Plan Document refer to such Plan Document as a whole and not to
any particular section, subsection, or clause contained in such Plan Document.

The word “including” (and, with correlative meaning, the forms of the word
“include”) shall mean including, without limiting the generality of any description
preceding that word; and the words “shall” and “will” are used interchangeably
and have the same meaning.

All references to dollars are to United States dollars.

An initially capitalized term used herein that is not defined herein shall have the
meaning ascribed to such term, if any, in the Bankruptcy Code, unless the context
shall otherwise require.

The descriptive headings contained in Plan Documents are included for
convenience of reference only and are not intended to be a part of and shall not
affect in any way the meaning or interpretation of Plan Documents,

All references in a particular Plan Document to sections, articles, and exhibits are
references to sections, articles and exhibits of or to such Plan Document unless

otherwise specified.

In computing any period of time prescribed or allowed by a Plan Document, the
provisions of Bankruptcy Rule 9006(a) shall apply.

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(m) The rules of construction set forth in Bankruptcy Code § 102 shall apply.

(n) Nothing in the Plan or any other Plan Document shall be deemed to alter, modify,
amend, or otherwise change, in any way, (1) the Sealed Air Settlement Agreement,
except to the extent that each of the Sealed Air Corporation and Cryovac, Inc.
expressly consents to such alteration, modification, amendment, or change in
writing in its absolute discretion or (il) the Fresenius Settlement Agreement,
except to the extent that Fresenius consents to such alteration, modification,
amendment, or change in writing in its absolute discretion.

13 THE PLAN DOCUMENTS

The Plan Documents, once Filed, shall also be available for review in the office of the
clerk of the Bankruptcy Court during normal hours of operation of the Bankruptcy Court.
Holders of Plan Claims and Equity Interests may also obtain a copy of the Plan Documents
following their Filing with the clerk of the Court by contacting the Debtors’ voting agent, BMC
Group, Inc. by a written request sent to:

If by hand delivery/courier: If by U.S. mail:

BMC Group, Inc. BMC Group, Inc.

444 N. Nash Street P.O. Box 913

El] Segundo, CA 90245-2822 El Segundo, CA 90245-0913
Attn: Grace Voting Agent Attn: Grace Voting Agent

or by telephone at (888) 909-0100 or email to wrgrace@bmcgroup.com. Copies of the Plan
Documents also will be available for review on the Debtors’ website at www.grace.com and on
the website of BMC Group, Inc. at www.bmcgroup.com/wregrace.

14 ANCILLARY DOCUMENTS

Each of the Plan Documents is an integral part of this Plan and is hereby incorporated by
reference and made a part of this Plan.

ARTICLE 2
PROVISIONS FOR PAYMENT OF ADMINISTRATIVE
EXPENSES AND PRIORITY TAX CLAIMS

2.1 UNCLASSIFIED CLAIMS
In accordance with Bankruptcy Code § 1123(a)(1), Administrative Expense Claims and

Priority Tax Claims are not classified and are excluded from the Classes set forth in Article 3 of
this Plan.

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2.1.1 PAYMENT OF ALLOWED ADMINISTRATIVE EXPENSE CLAIMS

(a) Treatment. Subject to the provisions of Bankruptcy Code §§ 330(a), 331, and
503, each Holder of an Allowed Administrative Expense Claim shall be paid the Allowed
Amount of its Administrative Expense Claim either (i) in full, in Cash, by the Reorganized
Debtors, on the Effective Date or as soon as practicable thereafter, or (ii) upon such other less
favorable terms as may be mutually agreed upon between the Holder of an Allowed
Administrative Expense Claim and the Reorganized Debtors or otherwise established pursuant to
an order of the Bankruptcy Court; provided, however, that (A) Administrative Expense Claims
representing liabilities incurred in the ordinary course of business by the Debtors in Possession
on or after the Petition Date or assumed by the Debtors in Possession pursuant to this Plan or an
order of the Bankruptcy Court shall be paid by the Reorganized Debtors in accordance with the
terms and conditions of the particular transactions and any agreements relating thereto or any
order of the Bankruptcy Court and (B) Allowed Administrative Expense Claims of Professionals
shall be paid pursuant to an order of the Bankruptcy Court.

(b) Deadline For Filing Applications for C ompensation and Administrative Expenses.

(1) Professionals’ Fees. All final applications for compensation of
Professionals for services rendered and for reimbursement of expenses incurred on or before the
Effective Date, and any other request for compensation by any Entity for making a substantial
contribution (as described in Bankruptcy Code § 503(b)(3)(D)) in the Chapter 11 Cases (except
only for Claims under 28 U.S.C. § 1930 and for fees incurred by the clerk’s office), shall be
Filed no later than ninety (90) days after the Effective Date (“Professionals’ Fees”). Objections
to any Administrative Expense Claims for Professionals’ Fees must be filed within sixty (60)
days after the applications have been Filed. Any Professional or Entity with an Administrative
Expense Claim that does not File an application for payment of such Administrative Expense
Claim by the deadline set forth herein shall be forever barred from asserting such Administrative
Expense Claim and shall receive no Distribution under this Plan or otherwise on account of such
Administrative Expense Claim. Compensation of Professionals for services rendered and for
reimbursement of expenses incurred after the Effective Date shall be paid by the Reorganized
Debtors in accordance with any such Professional’s invoice(s) and to the extent undisputed
without any action or order of the Court.

(2) Other Administrative Expense Claims. Unless a request for the payment
of an Administrative Expense Claim previously was filed with the Court, all requests or
applications for payment of Administrative Expense Claims other than Professionals’ Fees
described in Section 2.1.1(b)(1) (“Other Administrative Expense Claims”) must be filed with
the Court and served on the Reorganized Debtors, pursuant to the procedures specified in the
Confirmation Order and the notice of entry of the Confirmation Order, no later than 90 days after
the Effective Date (the “Administrative Claims Bar Date”). Any Holder of an Administrative
Expense Claim that is required to file and serve a request for payment of such Administrative
Expense Claim and that does not file and serve such a request within the time established by this
Section 2.1.1(b)(2) will be forever barred from asserting such Administrative Expense Claim
against the Debtors, the Reorganized Debtors or their respective property and such

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Administrative Expense Claim will be deemed discharged as of the Effective Date. Objections
to Other Administrative Expense Claims must be filed with the Court and served on the
requesting party within 270 days after the Effective Date; provided, however, that such objection
deadline may be extended by the Court upon request of the Reorganized Debtors.

2.1.2 PRIORITY TAX CLAIMS

Each Holder of an Allowed Priority Tax Claim shall be paid the Allowed Amount of its
Priority Tax Claim, at the option of the Reorganized Debtors, either (i) in full, in Cash, by the
Reorganized Debtors, on the Effective Date or as soon as practicable thereafter, or (41) upon such
other terms as may be agreed upon by the Holder of an Allowed Priority Tax Claim and
approved by the Bankruptcy Court, or (iii) in equal quarterly Cash payments commencing on the
Initial Tax Distribution Date and, thereafter, on each Quarterly Tax Distribution Date in an
aggregate amount equal to such Allowed Priority Tax Claim, together with interest at 4.19% per
annum, over a period not exceeding six (6) years after the date of assessment of such Allowed
Priority Tax Claim, or upon such other terms (including such other rate of interest) determined
by the Bankruptcy Court, which will provide the Holder of such Allowed Priority Tax Claim
deferred Cash payments having a value, as of the Effective Date, equal to such Allowed Priority
Tax Claim; provided, however, that each Holder of a Priority Tax Claim which by operation of
the Fresenius Settlement Agreement is an obligation for Fresenius Indemnified Taxes promptly
shall be paid in full in Cash as such Fresenius Indemnified Taxes become due and payable.

ARTICLE 3
CLASSIFICATION AND TREATMENT
OF CLAIMS AND EQUITY INTERESTS

3.1 SUMMARY

Claims and Equity Interests are classified for all purposes, including voting,
confirmation, and Distribution pursuant to this Plan and pursuant to Bankruptcy Code §§ 1122
and 1123(a)(1), as follows:

CLASSIFICATION IMPAIRMENT AND VOTING
Class 1 | Priority Claims Unimpaired -- deemed to have voted to accept the
Plan; no separate vote being solicited.
Class 2 | Secured Claims Unimpaired -- deemed to have voted to accept the
Plan; no separate vote being solicited.
Class3_ | Employee Benefit Claims Unimpaired -- deemed to have voted to accept the

Plan; no separate vote being solicited.

Class 4 | Workers’ Compensation Claims | Unimpaired -- deemed to have voted to accept the
Plan; no separate vote being solicited.

Class 5 | Intercompany Claims Unimpaired -- deemed to have voted to accept the
Plan; no separate vote being solicited.
Class 6 | Asbestos PI Claims Impaired -- vote being solicited.
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Class 7 | Class 7A. Asbestos PD Claims | Unimpaired -- vote being solicited for purposes of
(excluding US ZAI PD Claims) | § 524(g) of the Bankruptcy Code.
Class 7B. US ZAI PD Claims Impaired -- vote being solicited.
Class 8 | CDN ZAI PD Claims Impaired -- vote being solicited.
Class 9 | General Unsecured Claims Unimpaired -- deemed to have voted to accept the
Plan; provisional vote being solicited.
Class 10 | Equity Interests in the Parent Impaired -- vote being solicited.
Class 11 | Equity Interests in Debtors Unimpaired -- deemed to have voted to accept the
Other than the Parent Plan; no separate vote being solicited.
3.1.1 Class 1. Priority Claims
(a) Classification

Class 1 consists of all Priority Claims against the Debtors.

(b)

Treatment

Each Holder of an Allowed Priority Claim shall be paid the Allowed Amount of its
Allowed Priority Claim plus interest at 4.19%, from the Petition Date, compounded annually, or
if pursuant to an existing contract, interest at the non-default contract rate, at the option of the
Reorganized Debtors, either (i) in full, in Cash, on the later of (A) the Effective Date or as soon
as practicable thereafter or (B) the date such Priority Claim becomes an Allowed Priority Claim,
or as soon as practicable thereafter, or (ii) upon such other less favorable terms as may be agreed
upon by the Holder of an Allowed Priority Claim.

(c)

Impairment and Voting

Class 1 is unimpaired. The Holders of the Allowed Priority Claims in Class 1 are
deemed to have voted to accept this Plan and, accordingly, their separate vote will not be

solicited.

3.1.2 Class 2.

(a)

Classification

Secured Claims

Class 2 consists of all Secured Claims against the Debtors.

(b)

Treatment

Each Holder of an Allowed Secured Claim shall be paid the Allowed Amount of its
Allowed Secured Claim plus interest at 4.19%, from the Petition Date, compounded annually, or

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if pursuant to an existing contract, interest at the non-default contract rate, at the option of the
Reorganized Debtors, either (i) in full, in Cash, on the later of (A) the Effective Date or as soon
as practicable thereafter or (B) the date such Secured Claim becomes an Allowed Secured Claim,
or as soon as practicable thereafter; (ii) upon such other less favorable terms as may be agreed
upon by the Holder of an Allowed Secured Claim; (iii) by the surrender to the Holder or Holders
of any Allowed Secured Claim of the property securing such Secured Claim; or (iv)
notwithstanding any contractual provision or applicable law that entitles the Holder of a Secured
Claim to demand or receive payment thereof prior to the stated maturity from and after the
occurrence of a default, by reinstatement in accordance with Bankruptcy Code § 1124(2)(A)-(D).

(c) Impairment and Voting

Class 2 is unimpaired. “The Holders of the Allowed Secured Claims in Class 2 are
deemed to have voted to accept this Plan and, accordingly, their separate vote will not be
solicited.

3.1.3 Class 3. Employee Benefit Claims

(a) Classification

Class 3 consists of all Employee Benefit Claims.

(b) Treatment

Employee Benefit Claims shall be reinstated and paid pursuant to the written benefit plan
or plans that the Debtors intend to continue pursuant to Section 9.3.1 of this Plan, subject to the
terms and conditions of such plans. Thus, this Plan leaves unaltered the legal, equitable and

contractual rights to which each such Claim entitles the Holder of such Claim.

(c) Impairment and Voting

Class 3 is unimpaired. The Holders of the Employee Benefit Claims in Class 3 are
deemed to have voted to accept this Plan and, accordingly, their separate vote will not be
solicited.

3.1.4 Class 4. Workers’ Compensation Claims

(a) Classification

Class 4 consists of all Workers’ Compensation Claims against the Debtors.

(b) Treatment

This Plan leaves unaltered the legal, equitable, and contractual rights to which each such

Workers’ Compensation Claim entitles the Holder of such Workers’ Compensation Claim. For
the avoidance of doubt, in no event shall any of the Sealed Air Indemnified Parties or the

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Fresenius Indemnified Parties have any liability with respect to any Workers’ Compensation
Claim.

(c) Impairment and Voting

Class 4 is unimpaired. The Holders of the Workers’ Compensation Claims in Class 4 are
deemed to have voted to accept this Plan and, accordingly, their separate vote will not be
solicited.

3.1.5 Class 5. Intercompany Claims

(a) Classification .

Class 5 consists of all Intercompany Claims.

(b) Treatment

This Plan leaves unaltered the legal, equitable, and contractual rights to which each such
Intercompany Claim entitles the Holder of such Intercompany Claim.

(c) Impairment and Voting

Class 5 is unimpaired. The Holders of Intercompany Claims in Class 5 are deemed to
have voted to accept this Plan and, accordingly, their separate vote will not be solicited,

3.1.6 Class 6. Asbestos PI Claims
(a) Classification
Class 6 consists of all Asbestos PI Claims against the Debtors.
(b) Treatment

(1) All Asbestos PI Claims shall be resolved in accordance with the terms, provisions,
and procedures of the Asbestos PJ Trust Agreement and the Asbestos PI TDP (unless previously
allowed pursuant to an Order of the Court or agreement of the parties).

(ii) | All Asbestos PI Claims shall be paid by the Asbestos PI Trust solely from the
Asbestos PI Trust Assets as and to the extent provided in the Asbestos PI TDP. Asbestos PI
Claims shall not be deemed Allowed or Disallowed (unless an order or agreement approved by
the Court allowing the Claim has been previously entered), but rather shall be resolved by the
Asbestos PI Trust pursuant to the terms of the Asbestos PI TDP.

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(c) Asbestos PI Channeling Injunction

The sole recourse of the Holder of an Asbestos PI Claim on account of such Asbestos PI
Claim (whether or not such Asbestos PI Claim has been previously allowed pursuant to an Order
of the Court _or agreement of the parties) shall be to the Asbestos PI Trust pursuant to the
provisions of the Asbestos PI Channeling Injunction, the Asbestos PI Trust Agreement, and the
Asbestos PI TDP.

(d) Impairment and Voting

Class 6 is impaired. The Debtors are soliciting the votes of Holders of the Asbestos PI
Claims in Class 6 to accept or reject this Plan in the manner and to the extent provided in the
Confirmation Procedures Order.

3.1.7 Class 7. Asbestos PD Claims
(a) Classification
Class 7 consists of all Asbestos PD Claims against the Debtors.

Class 7A consists of all Asbestos PD Claims (except US ZAI PD Claims) against the
Debtors.

Class 7B consists of all US ZAI PD Claims against the Debtors.
(b) Treatment

(i) Treatment of Claims in Class 7A. Each Holder of an Asbestos PD Claim in Class
7A that is Allowed as of the Effective Date pursuant to a PD Settlement Agreement, or other
stipulation, order, or agreement, shall be paid the Allowed Amount of its Allowed Asbestos PD
Claim in Cash in full by the Asbestos PD Trust as and when due, without any deduction,
proration, reduction, setoff or discount, pursuant to the terms of the respective PD Settlement
Agreements, or other stipulation, order, or agreement, and the terms of the Asbestos PD Trust
Agreement (which Asbestos PD Trust shall be deemed by this Plan, the Confirmation Order, and
the Asbestos PD Trust Agreement to have assumed the obligations of such PD Settlement
Agreements). Unresolved Asbestos PD Claims shall be paid pursuant to the following
procedures:

(A) In connection with confirmation of the Plan, the Court shall enter the
Class 7A CMO; and

(B) Allowed Unresolved Asbestos PD Claims shall be paid in full, in Cash, by
the Asbestos PD Trust pursuant to the terms of the Asbestos PD Trust Agreement.

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(C) All Allowed Asbestos PD Claims in Class 7A shall be paid in full by the
Asbestos PD Trust solely from the Asbestos PD Trust Assets that are designated for Class 7A
Claims.

(D) The inclusion of Demands as Asbestos PD Claims in Class 7A and any
reference to Demands related to Asbestos PD Claims in Class 7A in the Plan does not constitute
an admission by the Debtors and the other Plan Proponents that an Entity which did not have an
allowable Asbestos PD Claim in Class 7A against the Debtors as of the Effective Date could
assert a valid claim against the Asbestos PD Trust contemplated under the Plan, and all rights
and defenses to the allowance of such a claim by the Asbestos PD Trust are expressly reserved
pursuant to the Plan.

(11) Treatment of Claims in Class 7B. All Asbestos PD Claims in Class 7B shall be
resolved in accordance with the terms, provisions, and procedures of the Asbestos PD Trust
Agreement and the ZAI TDP (unless previously allowed pursuant to an Order of the Court or
agreement of the parties).

(A) All Asbestos PD Claims in Class 7B shall be paid by the Asbestos PD
Trust solely from the Asbestos PD Trust Assets that are designated for Class 7B Claims under
the Asbestos PD Trust Agreement and as provided in the ZAI TDP. Asbestos PD Claims in
Class 7B shall not be deemed Allowed or Disallowed (unless an order or agreement approved by
the Court allowing the Claim has been previously entered), but rather shall be resolved by the
Asbestos PD Trust pursuant to the terms of the ZAI TDP.

(B) The inclusion of Demands as US ZAI PD Claims in Class 7B and any
reference to Demands related to US ZAI PD Claims in Class 7B in the Plan does not constitute
an admission by the Debtors and the other Plan Proponents that an Entity which did not have an
allowable US ZAI PD Claim in Class 7B against the Debtors as of the Effective Date could
assert a valid claim against the Asbestos PD Trust contemplated under the Plan, and all rights
and defenses to the allowance of such a claim by the Asbestos PD Trust shall be treated as
provided for in the ZAI TDP.

(c) Impairment and Voting

(i) Voting for Class 7. The votes of all Claimants in Class 7 will be solicited
and tabulated as one class for purposes of § 524(g) of the Bankruptcy Code in the manner and to
the extent provided in the Confirmation Procedures Order.

(ii) Impairment and Voting for Class 7A. Class 7A is unimpaired; however,
the Debtors have agreed to solicit the votes of Holders of the Asbestos PD Claims in Class 7A to
accept or reject this Plan solely for purposes of § 524(g) of the Bankruptcy Code.

(iii) | Impairment and Voting for Class 7B. Class 7B is impaired. The Debtors
are soliciting the votes of Holders of the Asbestos PD Claims in Class 7B to accept or reject this
Plan in the manner and to the extent provided in the Confirmation Procedures Order both for

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purposes of § 524(g) and for all other purposes contemplated by §§ 1126(c) and 1129(a) of the
Bankruptcy Code.

(d) Asbestos PD Channeling Injunction

The sole recourse of the Holder of an Asbestos PD Claim in Class 7A on account of such
Asbestos PD Claim (whether or not such Asbestos PD Claim is Allowed as of the Effective
Date) shall be to the Asbestos PD Trust pursuant _to the provisions of the Asbestos PD
Channeling Injunction, the Asbestos PD Trust Agreement, the Class 7A CMO, and any orders
entered by the Bankruptcy Court allowing such Asbestos PD Claims.

The sole recourse of the Holder of an Asbestos PD Claim in Class 7B on account of such
Asbestos PD Claim (whether or not such Asbestos PD Claim is Allowed as of the Effective
Date) shall be to the Asbestos PD Trust pursuant _to the provisions of the Asbestos PD
Channeling Injunction, the Asbestos PD Trust Agreement, and the ZAI TDP.

3.1.8 Class 8. CDN ZAI PD Claims

(a) Classification
Class 8 consists of all CDN ZAI PD Claims against the Debtors.
(b) Treatment

(i) All CDN ZAI PD Claims shall be resolved in accordance with the terms,
provisions, and procedures outlined in the CDN ZAI Minutes of Settlement.

(ii) | All CDN ZAI PD Claims shall be paid solely from the CDN ZAI PD
Claims Fund in the manner set out in the CDN ZAI Minutes of Settlement. CDN ZAI PD
Claims shall not be deemed Allowed or Disallowed, but rather shall be resolved as set forth in
the CDN ZAI Minutes of Settlement. Confirmation of this Plan shall constitute approval by this
Court of the settlement reflected in the CDN ZAI Minutes of Settlement for all purposes
including to the extent required by Bankruptcy Rule 9019.

(c) Asbestos PD Channeling Injunction

The sole recourse of the Holder of a CDN ZAI PD Claim on account of such CDN ZAI
PD Claim shall be to the CDN ZAI PD Claims Fund pursuant to the provisions of the CDN ZAI
Minutes of Settlement, the Asbestos PD Channeling Injunction, and any orders by the Canadian
Court allowing such CDN ZAI PD Claims.

(d) Impairment and Voting

Class 8 is impaired. The CCAA Representative Counsel shall be entitled to vote to
accept or reject this Plan on behalf of holders of CDN ZAI PD Claims in the manner and to the
extent provided in the CDN ZAI Minutes of Settlement and the Canadian Settlement Approval
Order.

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3.1.9 Class 9. General Unsecured Claims
(a) Classification
Class 9 consists of all General Unsecured Claims against the Debtors.
(b) Treatment

Each Holder of an Allowed General Unsecured Claim shall be paid the Allowed Amount
of its Allowed General Unsecured Claim plus post-petition interest on such Claim either (i) in
Cash in full on the later of (A) the Effective Date or (B) the date such General Unsecured Claim
becomes an Allowed General Unsecured Claim, or (ii) on such other less favorable terms as have
been agreed upon by the Holder of an Allowed General Unsecured Claim and the Debtors or the
Reorganized Debtors. The Plan leaves unaltered the legal, equitable, and contractual rights to
which each such General Unsecured Claim entitles the Holder of each such General Unsecured
Claim subject to the preemptory effect of bankruptcy law. Subject to Section 3.1.9(d) of this
Plan, post-petition interest on Allowed General Unsecured Claims shall be calculated as follows:
(1) either

(A) for General Unsecured Claims arising from the Pre-petition Credit Facilities,
post-petition interest shall be calculated at the rate of 6.09% from the Petition Date
through December 31, 2005 and thereafter at floating prime, in each case compounded
quarterly through the Effective Date;

(B) for General Unsecured Claims arising from Environmental Claims that include a
liquidated amount for post-petition or future cleanup liability, post-petition interest shall
be calculated at the rate of 4.19% from the date specified in any order allowing the
Environmental Claim in such liquidated amount, compounded annually through the
Effective Date or the date of payment of the General Unsecured Claim if it becomes an
Allowed General Unsecured Claim after the Effective Date;

(C) for General Unsecured Claims arising from an existing contract that specifies
payment of interest at a non-default rate of interest, post-petition interest shall be
calculated at the non-default rate of interest provided in such contract from the Petition
Date, compounded annually through the Effective Date or the date of payment of the
General Unsecured Claim if it becomes an Allowed General Unsecured Claim after the
Effective Date; or

(D) _ for all other General Unsecured Claims, post-petition interest shall be calculated
at the rate of 4.19% from the Petition Date, compounded annually through the Effective
Date or the date of payment of the General Unsecured Claim if it becomes an Allowed
General Unsecured Claim after the Effective Date; or

(ii) on such other less favorable terms as have been agreed upon by the Holder of an Allowed
General Unsecured Claim and the Debtors or Reorganized Debtors, including an agreement

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whereby no post-petition interest is paid on the Claim or post-petition interest begins to accrue
on the Claim on a date other than the Petition Date.

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(c) EPA Multi-Site Agreement Obligations

The Debtors’ obligations under the Multi-Site Settlement Agreement approved by the
Bankruptcy Court on June 3, 2008 (Dkt. No. 18847) constitute Claims in Class 9, except for
those obligations specifically identified therein as Allowed Administrative Expense Claims. The
Multi-Site Settlement Agreement is incorporated into the Plan, and the rights of the Settling
Federal Agencies (as defined in the Multi-Site Settlement Agreement) and the Debtors with
respect to “Debtor-Owned Sites,” “Additional Sites,” “Work Consent Decrees” and “Work
Administrative Orders” (as defined in the Multi-Site Settlement Agreement), shall be governed
by the Multi-Site Settlement Agreement notwithstanding any other provision of the Plan or the
Confirmation Order to the contrary.

(d) Procedures for Resolution of Post-Petition Interest Disputes

(i) If any Holder of a General Unsecured Claim, other than a Holder of a General
Unsecured Claim arising from the Pre-petition Credit Facilities (which Claims are subject to a
pending objection and litigation concerning the amount of post-petition interest to which the
Holders are entitled) believes that it is entitled to post-petition interest at a rate or calculation
other than the treatment set forth in Section 3.1.9(b) of the Plan, such Holder may File with the
Bankruptcy Court a “Post-Petition Interest Determination Notice” by no later than the
deadline established by the Bankruptcy Court for Claimants to vote to accept or reject the Plan.
Any Post-Petition Interest Determination Notice that is Filed shall (A) identify the Claim and the
requested rate of post-petition interest applicable to such Claim and (B) attach documentation
supporting the payment of such rate of interest for the Claim. Failure to timely File a Post-
Petition Interest Determination Notice with the required information and supporting
documentation will be deemed an agreement to accept the post-petition interest treatment
provided for in Section 3.1.9(b) of the Plan. The Debtors shall provide notice of the deadline to
File a Post-Petition Interest Determination Notice in the manner and to the extent provided in the
Confirmation Procedures Order.

(ii) | The Debtors or Reorganized Debtors, as applicable, may dispute any Post-Petition
Interest Determination Notice by Filing an objection thereto by no later than 60 days after the
Effective Date. In objecting to a Post-Petition Interest Determination Notice, the Debtors or
Reorganized Debtors, as applicable, may assert that the Holder of the General Unsecured Claim
that Filed the Post-petition Interest Determination Notice is entitled to no post-petition interest
under applicable law or that an amount of post-petition interest less than the amount provided for
in Section 3.1.9(b) of the Plan should be paid on account of such Claim, and the Bankruptcy
Court may so find in accordance with any such objection asserted by the Debtors or the
Reorganized Debtors. If the Debtors or Reorganized Debtors, as applicable, object to a Post-
Petition Interest Determination Notice, then they shall also assert any and all objections that they
may have to the underlying General Unsecured Claim within the same objection notwithstanding
the time to file such other objections set forth in Section 5.1 of the Plan.

(iii) | The Debtors shall pay the principal amount of any Allowed General Unsecured
Claim to which a Post-Petition Interest Determination Notice relates on the Effective Date or on

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the date on which such Claim becomes an Allowed General Unsecured Claim in accordance with
the applicable provisions of the Plan, provided, however, that no payment of post-petition
interest will be made with respect to any General Unsecured Claim for which a Post-Petition
Interest Determination Notice has been Filed until the Post-Petition Interest Determination
Notice has been resolved in accordance with this Section 3.1.9(d). In addition, the Debtors shall
pay the principal amount of the General Unsecured Claims arising from the Pre-petition Credit
Facilities on the Effective Date, provided, however, that no payment of post-petition interest will
be made with respect to such General Unsecured Claims until the Debtors’ objection in relation
thereto has been resolved by a Final Order. Post-petition interest shall not accrue with respect to
any General Unsecured Claim after the Debtors have paid the principal amount of such Claim.

(iv) At any time, if the Debtors or Reorganized Debtors, as applicable, determine that
the post-petition interest rate or calculation asserted in a Post-Petition Interest Determination
Notice is appropriate, the Debtors or Reorganized Debtors, as applicable, may File a certificate
of no objection with respect to such notice (without prejudice to their rights in relation to any
other Post-Petition Interest Determination Notice). No hearing is required by the Bankruptcy
Court with respect to any Post-Petition Interest Determination Notice for which a certificate of
no objection is Filed or to which the Debtors or Reorganized Debtors, as applicable, do not
timely File an objection, and the respective amount of post-petition interest shall be paid on the
Post-Effective Distribution Date with respect thereto.

(v) If the Debtors or Reorganized Debtors, as applicable, object to a Post-Petition
Interest Determination Notice and no stipulation or agreement is reached with respect to the rate
or calculation of post-petition interest for such General Unsecured Claim, the Debtors or
Reorganized Debtors, as applicable, will ask the Bankruptcy Court to schedule a hearing on the
particular Post-Petition Interest Determination Notice and the related objection at an appropriate
time and shall pay the amount of post-petition interest determined by a Final Order in relation to
such Post-Petition Interest Determination Notice on the Post-Effective Distribution Date in
relation thereto. All litigation with respect to a disputed Post-Petition Interest Determination
Notice shall be conducted in the Bankruptcy Court as claims allowance litigation, subject to the
same bankruptcy rules and procedures that would have applied had the litigation been conducted
before the Effective Date.

(vi) The Debtors or Reorganized Debtors, as applicable, and the Holder of the General
Unsecured Claim that Filed the Post-Petition Interest Determination Notice at any time may
enter into a stipulation or agreement as to the appropriate rate or calculation of post-petition
interest with respect to such General Unsecured Claim without further action of the Bankruptcy
Court and without any prejudice to the Debtors’ or the Reorganized Debtors’ objections to any
other Post-Petition Interest Determination Notice.

(e) Procedures for Determining Non-Default Contract Rate of Post-Petition Interest

(1) Any Holder of a General Unsecured Claim, other than a Holder of a General
Unsecured Claim arising from the Pre-petition Credit Facilities, who does not dispute the manner
in which post-petition interest shall be calculated as provided for in Section 3.1.9(b)(i)(C) of the
Plan, but who wishes to substantiate the existence of an existing contract that specifies payment

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of interest at a non-default rate of interest as contemplated by Section 3.1.9(b)(i)(C), shall submit
a “Notice of Non-Default Contract Rate of Interest” to the Debtors’ voting and claims
reconciliation agent, BMC Group, Inc., by no later than the deadline established by the
Bankruptcy Court for Claimants to vote to accept or reject the Plan. Any Notice of Non-Default
Contract Rate of Interest shall (A) identify the Claim and the non-default contractual rate of
interest applicable to such Claim, (B) attach a copy of the contract relating to such Claim and (C)
be signed by the Holder of the Claim or its authorized representative under penalty of perjury. A
Notice of Non-Default Contract Rate of Interest does not need to be Filed with the Bankruptcy
Court. Provided that a Holder of a General Unsecured Claim or its authorized representative has
not Filed a Post-Petition Interest Determination Notice, failure by a Holder of a General
Unsecured Claim or its authorized representative to timely submit a Notice of Non-Default
Contract Rate of Interest will be deemed an admission that no non-default contract rate of
interest exists with respect to such Holder’s General Unsecured Claim, and said Holder of the
General Unsecured Claim shall receive interest as set forth in Section 3.1.9(b)()(D) above. The
Debtors shall provide notice of the deadline to submit a Notice of Non-Default Contract Rate of
Interest in the manner and to the extent provided in the Confirmation Procedures Order.

(ii) | The Debtors may dispute any Notice of Non-Default Contract Rate of Interest by
serving a written objection at any time before the Effective Date upon the Holder of a General
Unsecured Claim who has submitted a Notice of Non-Default Contract Rate of Interest. After a
written objection to a Notice of Non-Default Contract Rate of Interest has been served, the
Debtors or the Reorganized Debtors, as the case may be, and the Holder of the applicable
General Unsecured Claim shall negotiate to resolve the objection. Ifa resolution is not reached,
the Holder of the General Unsecured Claim may request a hearing before the Bankruptcy Court
to resolve the objection to its Notice of Non-Default Contract Rate of Interest, provided,
however, that such request must be made no later than 60 days after the Effective Date and that
the only issue to be determined by the Bankruptcy Court at such a hearing shall be the
appropriate amount of non-default contract interest with respect to the General Unsecured Claim,
which shall be paid on the Post-Effective Distribution Date in relation to a Final Order making
such determination. If the Debtors do not dispute a Notice of Non-Default Contract Rate of
Interest by serving a written objection upon the Holder of a General Unsecured Claim who has
submitted a Notice of Non-Default Contract Rate of Interest, then the interest rate contained in
the Notice of Non-Default Contract Rate of Interest shall govern and be paid.

(iii) To the extent that a Notice of Non-Default Contract Rate of Interest relates to an
Allowed General Unsecured Claim and does not relate to a Claim that is also subject to a Post-
Petition Interest Determination Notice, the Debtors shall pay, on the Effective Date or on the
date on which such Claim becomes an Allowed General Unsecured Claim, the principal amount
of the Allowed General Unsecured Claim to which such notice relates plus post-petition interest
at the rate of 4.19% from the Petition Date or, if applicable, the non-default contract rate of
interest according to the Debtors’ books and records, compounded annually, in accordance with
the applicable provisions of the Plan pending resolution of any dispute concerning the amount of
non-default contract rate of interest asserted in the Notice of Non-Default Contract Rate of
Interest. Post-petition interest shall not accrue with respect to any General Unsecured Claim
after the Debtors have paid the principal amount of such Claim.

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(f) Impairment and Voting

Class 9 is unimpaired. The Holders of General Unsecured Claims in Class 9 are deemed
to have voted to accept this Plan. Notwithstanding the foregoing, the Debtors have agreed to
provisionally solicit the votes of Holders of General Unsecured Claims in Class 9 in the manner
and to the extent provided in the Confirmation Procedures Order.

3.1.10 Class 10. Equity Interests in the Parent

(a) Classification

Class 10 consists of Equity Interests in the Parent.

(b) Treatment

On the Effective Date, Class 10 Equity Interests in the Parent shall be retained, subject to
the issuance of the Warrant, the terms of the Share Issuance Agreement, and the Stock Trading

Restrictions Term Sheet.

(c) Impairment and Voting

Class 10 is impaired. The Debtors are soliciting the votes of Holders of the Equity
Interests in the Parent in Class 10 to accept or reject this Plan in the manner and to the extent
provided in the Confirmation Procedures Order.

3.1.11 Class11. | Equity Interests in the Debtors other than the Parent

(a) Classification

Class 11 consists of Equity Interests in the Debtors other than the Parent.

(b) Treatment

This Plan leaves unaltered the legal, equitable, and contractual rights to which each such
Equity Interest in the Debtors other than the Parent entitles the Holder of such Equity Interest.

(c) Impairment and Voting

Class 11] is unimpaired. The Holders of the Equity Interests in the Debtors other than the
Parent in Class 11 are deemed to have voted to accept this Plan and, accordingly, their separate
vote will not be solicited.

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ARTICLE 4
MODIFICATION OR WITHDRAWAL OF THIS PLAN

4.1 MODIFICATION OF THE PLAN; AMENDMENT OF PLAN DOCUMENTS

4.1.1 Modification of the Plan

The Plan Proponents, acting together, may alter, amend, or modify this Plan, or any other
Plan Document, under Bankruptcy Code § 1127(a) at any time prior to the Confirmation Date so
long as this Plan, as modified, meets the requirements of Bankruptcy Code §§ 1122 and 1123.
After the Confirmation Date, the Plan Proponents, acting together, may alter, amend, or modify
this Plan but only before its substantial consummation in accordance with Bankruptcy Code §
1127(b). Notwithstanding the foregoing, in no event may the Plan Proponents alter, amend, or
modify this Plan or any other Plan Document in a manner that (a) conflicts with the Sealed Air
Settlement Agreement except to the extent that such alteration, amendment, or modification is
expressly consented to, in writing, by each of Sealed Air Corporation and Cryovac, Inc. in its
absolute discretion or (b) conflicts with the Fresenius Settlement Agreement except to the extent
that such alteration, amendment, or modification is expressly consented to, in writing, by
Fresenius in its absolute discretion. In no event shall either Sealed Air Corporation or Cryovac,
Inc. have any obligation with respect to the Cryovac Payment (including the Asbestos PD Initial
Payment) unless the terms of the Plan and/or any alteration, amendment, or modification thereto
comply fully with the Sealed Air Settlement Agreement except to the extent that any and every
non-compliance with the Sealed Air Settlement Agreement has been expressly consented to, in
writing, by each of Sealed Air Corporation and Cryovac, Inc. in its absolute discretion. In no
event shall Fresenius have any obligation with respect to the Fresenius Payment (including the
Asbestos PD Initial Payment) unless the terms of the Plan and/or any alteration, amendment, or
modification thereto comply fully with the Fresenius Settlement Agreement except to the extent
that any and every non-compliance with the Fresenius Settlement Agreement has been expressly
consented to, in writing, by Fresenius in its absolute discretion.

4.1.2 Post-Effective Date Amendment of Other Plan Documents

From and after the Effective Date, the authority to amend, modify, or supplement the
Plan Documents, other than the Plan, will be as provided in such Plan Documents.
Notwithstanding the foregoing, in no event may the Plan Proponents or any other party amend,
modify, or supplement any Plan Document in a manner that (a) conflicts with the Sealed Air
Settlement Agreement except to the extent that such amendment, modification or supplement is
expressly consented to, in writing, by each of Sealed Air Corporation and Cryovac, Inc. in its
absolute discretion or (b) conflicts with the Fresenius Settlement Agreement except to the extent
that such amendment, modification, or supplement is expressly consented to, in writing, by
Fresenius in its absolute discretion.

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4.2 WITHDRAWAL OF THIS PLAN

4.2.1 Right to Withdraw this Plan

This Plan may be withdrawn by the Plan Proponents, acting together, prior to the
Confirmation Date.

4.2.2 Effect of Withdrawal

If this Plan is withdrawn prior to the Confirmation Date, this Plan shall be deemed null
and void. In such event, nothing contained herein or in any of the Plan Documents shall be
deemed to constitute a waiver ‘or release of any claims or defenses of, or an admission or
statement against interest by, any of the Plan Proponents or any other Entity or to prejudice in
any manner the rights of any of the Plan Proponents or any Entity in any further proceedings
involving the Debtors.

ARTICLE 5
PROVISIONS FOR TREATMENT OF DISPUTED CLAIMS
AND ASBESTOS CLAIMS GENERALLY

5.1 OBJECTION TO CLAIMS (OTHER THAN ASBESTOS PI CLAIMS, ASBESTOS
PD CLAIMS, AND CDN ZAI PD CLAIMS); PROSECUTION OF DISPUTED
CLAIMS

Subject to the treatment provisions of this Plan, the Debtors or Reorganized Debtors, as
applicable, and the United States Trustee, may object to the allowance of any Plan Claims (other
than Asbestos PI Claims, Asbestos PD Claims (except as provided for pursuant to the Asbestos
PD Trust Agreement and this Plan), and CDN ZAI PD Claims)) Filed with the Bankruptcy Court
or to be otherwise resolved pursuant to any provisions of this Plan with respect to which they
dispute liability, in whole or in part. Subject to the treatment provisions of this Plan, the
Debtors’ pending objections to any Plan Claims not channeled to and assumed by the Asbestos
PI Trust or the Asbestos PD Trust shall be transferred to the Reorganized Debtors on the
Effective Date for final resolution.

Not later than ten (10) days before the Effective Date, the Debtors shall File with the
Bankruptcy Court an exhibit listing all Plan Claims (other than Asbestos PI Claims, Asbestos PD
Claims, and CDN ZAI PD Claims) that the Debtors have already analyzed and to which the
Debtors have no objection (the “Undisputed Claims Exhibit”). Plan Claims listed on the
Undisputed Claims Exhibit shall be Allowed Claims as set forth in Section 1.1.4 of the Plan.
The Debtors or the Reorganized Debtors, as applicable, may File additional Undisputed Claims
Exhibits with the Court at any time after the Filing of the initial Undisputed Claims Exhibit with
respect to any remaining Plan Claims (other than Asbestos PI Claims, Asbestos PD Claims, and
CDN ZAI PD Claims) if they have determined not to object to any of such Claims.

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After the Effective Date, all objections that are Filed and prosecuted by the Reorganized
Debtors as provided herein may be: (i) compromised and settled in accordance with the business
judgment of the Reorganized Debtors without approval of the Bankruptcy Court, or (ii) litigated
to Final Order by the Reorganized Debtors. Unless otherwise provided herein or ordered by the
Bankruptcy Court, all objections by the Reorganized Debtors to Plan Claims (other than
Asbestos PI Claims, Asbestos PD Claims, and CDN ZAI PD Claims, all of which have no
objection deadline) shall be served and Filed no later than 180 days after the Effective Date,
subject to any extensions granted pursuant to a further order of the Bankruptcy Court. Such
further order may be obtained by the Reorganized Debtors upon notice to all Holders of Plan
Claims (other than Asbestos PI Claims, Asbestos PD Claims, and CDN ZAI PD Claims) that are
still pending allowance and are not subject to a pending objection.

5.2. RESOLUTION OF ASBESTOS PI CLAIMS

Asbestos PI Claims shall be resolved in accordance with the Asbestos PI Trust
Agreement and the Asbestos PI TDP.

5.3. RESOLUTION OF ASBESTOS PD CLAIMS

Asbestos PD Claims shall be resolved in accordance with the Asbestos PD Trust
Agreement and (a) in the case of Asbestos PD Claims in Class 7A, the Class 7A Case
Management Order setting forth procedures for determining the allowance or disallowance of the
Unresolved Asbestos PD Claims; and (b) in the case of Asbestos PD Claims in Class 7B, the ZAI
TDP setting forth procedures for resolving the US ZAI PD Claims in Class 7B.

5.4. RESOLUTION OF CDN ZAI PD CLAIMS

CDN ZAI PD Claims shall be resolved in accordance with the terms, provisions, and
procedures outlined in the CDN ZAI Minutes of Settlement.

ARTICLE 6
ACCEPTANCE OR REJECTION OF THIS PLAN

6.1 IMPAIRED CLASSES TO VOTE

Each Holder of a Plan Claim or Equity Interest in an impaired Class is entitled to vote to
accept or reject this Plan to the extent and in the manner provided herein or in the Confirmation
Procedures Order. In addition, the Debtors have agreed to solicit the votes of Holders of the
Asbestos PD Claims in Class 7A to accept or reject this Plan for purposes of section 524(g) of
the Bankruptcy Code as described in Section 3.1.7(c). Further, the Debtors have agreed to solicit
and tabulate the votes of the Holders of General Unsecured Claims in Class 9. Whether those
votes will be given effect, is subject to it being determined that Class 9 is an impaired Class.

6.2 ACCEPTANCE BY IMPAIRED CLASSES OF CLAIMS

Acceptance of this Plan by any impaired Class of Plan Claims shall be determined in
accordance with the Confirmation Procedures Order and the Bankruptcy Code.

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6.3 PRESUMED ACCEPTANCE OF THIS PLAN

Classes 1, 2, 3, 4, 5, 7A, 9, and 11 of Plan Claims and Equity Interests in Debtors other
than the Parent are unimpaired. Under Bankruptcy Code § 1126(f), the Holders of Plan Claims
and Equity Interests in such Classes (except for Class 7A with respect to section 524(g) of the
Bankruptcy Code) are conclusively presumed to have voted to accept this Plan.

6.4 ACCEPTANCE PURSUANT TO SECTION 524(g) OF THE BANKRUPTCY
CODE.

This Plan shall have been voted upon favorably as required by section
524(g)(2)(B)(i)TV)(bb) of the Bankruptcy Code to the extent that at least 75% of those voting in
Classes 6, 7, and 8 vote to accept this Plan.

6.5 NONCONSENSUAL CONFIRMATION

6.5.1 Cram Down

With respect to impaired Equity Interests in the Parent, and subject to Section 6.4 of this
Plan, with respect to any impaired Class of Plan Claims that fail to accept this Plan in accordance
with Bankruptcy Code §§ 1126 and 1129(a), the Plan Proponents request, to the extent consistent
with applicable law, that the Court confirm this Plan in accordance with Bankruptcy Code §
1129(b) with respect to such non-accepting Class of Equity Interests and such non-accepting
Class of Plan Claims (if any), and this Plan constitutes a motion for such relief.

6.5.2 General Reservation of Rights

Should this Plan fail to be accepted by the requisite number and amount of the Holders of
Plan Claims and Equity Interests required to satisfy Bankruptcy Code §§ 524(g) and 1129, then,
notwithstanding any other provision of this Plan to the contrary, the Plan Proponents reserve the
right to amend this Plan. Notwithstanding the foregoing, in no event may the Plan Proponents
amend, modify, or supplement this Plan in a manner that (a) conflicts with the Sealed Air
Settlement Agreement except to the extent that such amendment, modification, or supplement is
expressly consented to, in writing, by each of Sealed Air Corporation and Cryovac, Inc. in its
absolute discretion or (b) conflicts with the Fresenius Settlement Agreement except to the extent
that such amendment, modification, or supplement is expressly consented to, in writing, by
Fresenius in its absolute discretion. In no event shall either Sealed Air Corporation or Cryovac,
Inc. have any obligation with respect to the Cryovac Payment (including the Asbestos PD Initial
Payment) unless the terms of the Plan and/or any amendment, modification, or supplement
thereto comply fully with the Sealed Air Settlement Agreement except to the extent that any and
every non-compliance with the Sealed Air Settlement Agreement has been expressly consented
to, in writing, by each of Sealed Air Corporation and Cryovac, Inc. in its absolute discretion. In
no event shall Fresenius have any obligation with respect to the Fresenius Payment (including
the Asbestos PD Initial Payment) unless the terms of the Plan and/or any amendment,
modification, or supplement thereto comply fully with the Fresenius Settlement Agreement

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except to the extent that any and every non-compliance with the Fresenius Settlement Agreement
has been expressly consented to, in writing, by Fresenius in its absolute discretion.

ARTICLE 7
IMPLEMENTATION OF THIS PLAN

7.1 CORPORATE GOVERNANCE

7.1.1 Amendment of Certificates of Incorporation of the Debtors

The Certificates of Incorporation of each of the Debtors that is a corporation shall be
amended as of the Effective Date. The amended Certificates of Incorporation of the Debtors
shall, among other things: (i) prohibit the issuance of nonvoting equity securities (A) as required
by Bankruptcy Code § 1123(a)(6) and (B) subject to further amendment as permitted by
applicable law, (ii) as to any classes of securities possessing voting power, provide for an
appropriate distribution of such power among such classes, including, in the case of any class of
equity securities having a preference over another class of equity securities with respect to
dividends, adequate provisions for the election of directors representing such preferred class in
the event of default in payment of such dividends, and (iii) effectuate any other provisions of this
Plan. The amended Certificates of Incorporation shall be filed with the Secretary of State or
equivalent official in their respective jurisdictions of incorporation on or prior to the Effective
Date and be in full force and effect without any further amendment as of the Effective Date.

7.1.2 Amendment of By-Laws of the Parent

The By-Laws of the Parent shall be amended as of the Effective Date to read in their
entirety substantially in the form set forth in the Plan Supplement to, among other things,
effectuate the provisions of this Plan.

7.1.3 Precedence of Share Issuance Obligations

The covenants and agreements of Parent (for purposes of this Section 7.1.3, as defined in
the Share Issuance Agreement) under Section 5(d) of the Share Issuance Agreement shall take
precedence and prevail over any inconsistent or contrary provision contained in the certificate of
incorporation or by-laws of Parent or any of its subsidiaries or in any contract, agreement or
other instrument to which Parent or any of its subsidiaries is a party or otherwise bound (other
than provisions, if any, that are inconsistent with, or contrary to, provisions of the Sealed Air
Settlement Agreement or the Fresenius Settlement Agreement), and, to the fullest extent
permitted by applicable law, any such inconsistent or contrary provision shall be nugatory and of
no force and effect and shall not dilute, restrict or impair the value or ownership rights of the
shares issued to the Asbestos PI Trust or the Asbestos PD Trust thereunder. The issuance of
stock to the Trusts’ Representative, on behalf of the Asbestos PI Trust and the Asbestos PD Trust
pursuant to the Share Issuance Agreement, shall not be subject to or trigger any “poison pill,”
shareholder or stockholder rights plan, or other anti-takeover or takeover defense plan, contract,
agreement, instrument, or provision adopted or implemented by the Parent.

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7.1.4 Warrants

The Board of Directors of Reorganized Parent shall take all actions necessary so that the
Asbestos PI Trust shall not be an “Acquiring Person” within the meaning of the Amended and
Restated Rights Agreement, dated as of March 25, 2008, by and between the Reorganized Parent
and Mellon Investor Services, LLC, as rights agent (as amended from time to time, the “Rights
Agreement”). The Reorganized Parent shall not lower the Beneficial Ownership (as defined in
the Rights Agreement) percentage in the Rights Agreement’s definition of “Acquiring Person”
until such time as the Asbestos PI Trust no longer owns the Warrant (either because of its
transfer or expiration) or any shares of Parent Common Stock issued to the Asbestos PI Trust
upon exercise of the Warrant. No “poison pill”, shareholder or stockholder rights plan, or other
anti-takeover or takeover defense plan, contract, agreement, instrument, or provision adopted or
implemented by the Reorganized Parent shall apply to or be triggered by the issuance of the
Warrant to, or the purchase of, Parent Common Stock upon exercise of the Warrant by the
Asbestos PI Trust.

If, prior to issuance of the Warrant to the Asbestos PI Trust, the Reorganized Parent shall
issue or sell any shares of Parent Common Stock, other than Excluded Stock (defined below), or
any rights to purchase or acquire, or securities convertible into or exchangeable for, shares of
Parent Common Stock (including without limitation any (x) options (other than Excluded
Options, as defined below), warrants or other rights (whether or not at the time exercisable) to
purchase or acquire Parent Common Stock, other than Excluded Stock, (y) securities by their
terms convertible into or exchangeable (whether at the time so convertible or exchangeable) for
Parent Common Stock, other than Excluded Stock or (z) options (other than Excluded Options),
warrants or rights to purchase such convertible or exchangeable securities), for no consideration
or for a consideration per share that is less than the securities exchange average closing price per
share of Parent Common Stock for the twenty consecutive trading days preceding (and not
including) the last trading day immediately prior to the day of such issuance or sale (the
“Market Price”), then and in each such case (a “Trigger Issuance”) the per share exercise price
of the Warrant (initially, $17.00) shall be reduced, immediately upon such Trigger Issuance, to
the price determined by multiplying such exercise price by a fraction, (1) the numerator of which
shall be (x) the number of shares of Parent Common Stock outstanding immediately prior to such
issuance or sale plus (y) the number of shares of Parent Common Stock which the aggregate
consideration received (or to be received) by the Reorganized Parent for the total number of such
additional shares of Parent Common Stock so issued or sold (or issuable upon exercise,
conversion or exchange) would purchase at the Market Price and (2) the denominator of which
shall be the number of shares of Parent Common Stock outstanding (or issuable upon exercise,
conversion or exchange) immediately after such Trigger Issuance. In the event of such an
adjustment of such exercise price, the number of shares of Parent Common Stock issuable upon
the exercise of the Warrant (initially, 10,000,000 shares of Parent Common Stock) shall be
increased to a number obtained by dividing (1) the product of (x) the number of shares of Parent
Common Stock issuable upon the exercise of the Warrant before such adjustment, and (y) the
exercise price thereof in effect immediately prior to the Trigger Issuance by (2) the new exercise
price determined in accordance with the immediately preceding sentence. Such adjustments
shall be made whenever such shares of Common Stock or such rights, options (other than
Excluded Options) or warrants or convertible securities are issued or sold . “Excluded Stock”

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means shares of Parent Common Stock issued and sold in a registered firm commitment
underwritten public offering pursuant to a registration statement declared effective in accordance
with the Securities Act, or any successor statute thereto. Excluded Stock shall not include a
private placement of shares, including without limitation one which is followed by a public
offering thereof. “Excluded Options” means options to purchase shares of Parent Common
Stock issued to directors, officers, employees and consultants of any Reorganized Debtor (i)
pursuant to an option plan or arrangement approved by either the stockholders of Parent or
Reorganized Parent or the Bankruptcy Court and (ii) with an exercise price equal to the average
of the high and the low trading prices of Parent Common Stock on the New York Stock
Exchange (or if Parent Common Stock is’not traded on the New York Stock Exchange, on the
principal stock exchange on which it trades) on the date of grant of the option.

At the time of issuance, the exercise price of, and number of shares issuable pursuant to,
the Warrant shall reflect any adjustment made pursuant to the preceding paragraph.

7.2. THE ASBESTOS PI TRUST

7.2.1 Creation of the Asbestos PI Trust

Upon the entry of the Confirmation Order, effective as of the Effective Date, the
Asbestos PI Trust shall be created pursuant to section 524(g) of the Bankruptcy Code and in
accordance with the Plan Documents. The Asbestos PI Trust shall be a “qualified settlement
fund” for federal income tax purposes within the meaning of the treasury regulations issued
pursuant to section 468B of the IRC.

The purpose of the Asbestos PI Trust shall be to, among other things: (i) assume the
liabilities of the Debtors with respect to all Asbestos PI Claims; (ii) process, liquidate, pay and
satisfy all Asbestos PI Claims in accordance, as applicable, with this Plan, the Asbestos PI Trust
Agreement and the Asbestos PI TDP and in such a way that provides reasonable assurance that
the Asbestos PI Trust will value, and be in a financial position to pay, present and future
Asbestos PI Claims (including Demands that involve similar claims) in substantially the same
manner and to otherwise comply with Bankruptcy Code § 524(g)(2)(B)(i); (iii) preserve, hold,
manage, and maximize the assets of the Asbestos PI Trust for use in paying and satisfying
Asbestos PI Claims entitled to payment; (iv) qualify at all times as a “qualified settlement fund”
for federal income tax purposes within the meaning of the treasury regulations issued pursuant to
section 468B of the IRC; and (v) otherwise carry out the provisions of the Asbestos PI Trust
Agreement and any other agreements into which the Asbestos PI Trustees have entered or will
enter in connection with this Plan.

7.2.2 Funding of the Asbestos PI Trust

(a) On the Effective Date, Grace-Conn or Parent shall transfer to the Asbestos PI
Trust (i) the sum of $250 million in Cash that is part of the Asbestos PI Trust Assets, plus
interest thereon from January 1, 2009 until (and including) the Effective Date at the same rate
applicable to the Debtors’ senior debt and (ii) an amount in Cash equal to the Asbestos PD Initial
Payment. In addition to the foregoing, on the Effective Date, Grace-Conn or Parent shall
transfer, or cause the transfer of, on behalf of the Reorganized Debtors and the Non-Debtor

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Affiliates, all other Asbestos PI Trust Assets that are not otherwise identified, transferred, or
assigned in this Section 7.2.2 and Section 7.2.4 hereof to the Asbestos PI Trust.

(b) On the Effective Date, Cryovac, Inc. shall transfer the Cryovac Payment (reduced
by the total aggregate amount of Cryovac, Inc.’s transfers to the Asbestos PD Trust as part of the
Class 7A Initial Payment and the Class 7B Initial Payment) directly to the Asbestos PI Trust.
Simultaneously with, and in exchange for such direct transfer and payment to the Asbestos PI
Trust and Cryovac Inc.’s transfers to the Asbestos PD Trust described in Sections 7.3.2(a) and
7.3.2(b) of the Plan, the Plaintiffs shall deliver to Sealed Air: (i) the “Release” (as defined in the
Sealed Air Settlement Agreement) duly executed by each of the Plaintiffs and the SA Debtors;
(ii) a copy of the Plan, (iii) a copy of the Confirmation Order, (iv) a duly executed Stipulation of
Dismissal With Prejudice of the Sealed Air Action in the form annexed as Exhibit 4 to the Sealed
Air Settlement Agreement, denying any other recovery against the Sealed Air Indemnified
Parties, and (v) the Registration Rights Agreement, in the form annexed as Exhibit 1 to the
Sealed Air Settlement Agreement, with appropriate insertions therein, duly executed by the
“Initial Holders” (as defined in the Sealed Air Settlement Agreement).

(c) On the Effective Date, Fresenius shall transfer the Fresenius Payment (reduced by
the total aggregate amount of Fresenius’ transfers to the Asbestos PD Trust as part of the Class
7A Initial Payment and the Class 7B Initial Payment) to the Asbestos PI Trust.

(d) (1) On the Effective Date, the Insurance Contributors shall execute and
deliver the Asbestos Insurance Transfer Agreement to the Asbestos PI Trust.

(ii) All Asbestos Insurance Rights, and all claims and causes of action asserted
or to be asserted in furtherance of or connection therewith, shall be preserved for the benefit of
the Asbestos PI Trust, for prosecution either by the applicable Insurance Contributor or the
Asbestos PI Trust in accordance with the Asbestos Insurance Transfer Agreement. Upon
execution and delivery of the Asbestos Insurance Transfer Agreement, all Asbestos Insurance
Rights shall be irrevocably transferred to and vested in the Asbestos PI Trust in accordance with
the Asbestos Insurance Transfer Agreement, without any further action by the Debtors, the other
Insurance Contributors, the Asbestos PI Trust, or the Bankruptcy Court. Asbestos Insurance
Rights shall be so vested free and clear of all Encumbrances, liens, security interests, and other
Claims or causes of action, except as expressly provided in Section 7.15 of the Plan.

(iii) Upon its execution and delivery, the Asbestos Insurance Transfer
Agreement shall be valid, binding, and enforceable. However, if a court of competent
jurisdiction determines the Asbestos Insurance Transfer Agreement to be invalid, non-binding, or
unenforceable, in whole or in part, then each Insurance Contributor shall (1) upon request by the
Asbestos PI Trust and at the reasonable expense of the Asbestos PI Trust, take all reasonable
actions to pursue any of the Asbestos Insurance Rights for the benefit of, and to the extent
requested by, the Asbestos PI Trust and (2) immediately transfer any amounts recovered under or
on account of any of the Asbestos Insurance Rights to the Asbestos PI Trust; provided, however,
that while any such amounts are held by or under the control of any Insurance Contributor, such
amounts shall be held in trust for the benefit of the Asbestos PI Trust.

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(iv) On the Effective Date, the Asbestos PI Trust shall be the successor to all
rights of the Debtors and Non-Debtor Affiliates under each Asbestos Insurance Reimbursement
Agreement. The Asbestos PI Trust’s payment of an Asbestos PI Claim under the PI TDP shall
be deemed to constitute settlement and payment of such claim by or on behalf of the Debtors or
Non-Debtor Affiliates within the meaning of, and in full compliance with, each Asbestos
Insurance Reimbursement Agreement.

7.2.3 Transfer of Claims and Demands to the Asbestos PI Trust

On the Effective Date, without any further action of any Entity, all liabilities, obligations,
and responsibilities of any Asbestos Protected Party with respect to all Asbestos PI Claims shall
be channeled to and assumed by.the Asbestos PI Trust. This Section 7.2.3 is intended to further
effect the Asbestos PI Channeling Injunction described in Section 8.2 of this Plan, and the
discharge described in Section 8.1 of this Plan. This Section 7.2.3 is not intended to, and it shall
not, serve as a waiver of any defense to any claim the Debtors, the Asbestos PI Trust, or any
other Asbestos Protected Party would otherwise have.

7.2.4 Assignment and Enforcement of Asbestos PI Trust Causes of Action

On the Effective Date, by virtue of the confirmation of this Plan, without further notice,
action, or deed, the Asbestos PI Trust Causes of Action shall be automatically transferred and
assigned to, and indefeasibly vested in, the Asbestos PI Trust, and the Asbestos PI Trust shall
thereby become the estate representative pursuant to section 1123(b)(3)(B) of the Bankruptcy
Code with respect to the Asbestos PI Trust Causes of Action, with the exclusive right to enforce
the Asbestos PI Trust Causes of Action against any Entity, and the proceeds of the recoveries of
such Asbestos PI Trust Causes of Action shall be deposited in and shall become the property of
the Asbestos PI Trust; provided, however, that nothing herein shall alter, amend, or modify the
injunctions and/or releases provided under this Plan including the Asbestos PI Channeling
Injunction, the Asbestos PD Channeling Injunction, the Successor Claims Injunction, and the
Asbestos Insurance Entity Injunction.

7.2.5 Appointment and Termination of Asbestos PI Trustees

The three initial Asbestos PI Trustees of the Asbestos PI Trust shall be the persons
identified in the Asbestos PI Trust Agreement. All successor Asbestos PI Trustees shall be
appointed in accordance with the terms of the Asbestos PI Trust Agreement. Upon termination
of the Asbestos PI Trust, the Asbestos PI Trustees’ employment shall be deemed terminated and
the Asbestos PI Trustees shall be released and discharged of and from all further authority,
duties, responsibilities and obligations relating to or arising from or in connection with the
Chapter 11 Cases.

7.2.6 Creation and Termination of the Asbestos PI TAC

The Asbestos PI Trust Advisory Committee shall be established pursuant to the Asbestos
PI Trust Agreement. The Asbestos PI TAC shall have four members and shall have the
functions, duties and rights provided in the Asbestos PI Trust Agreement. On or before the
Confirmation Date, the initial members of the Asbestos PI TAC shall be selected by the Asbestos

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PJ Committee. Upon termination of the Asbestos PI Trust, the Asbestos PI TAC shall be deemed
dissolved and the Asbestos PI TAC shall be released and discharged of and from all further
authority, duties, responsibilities and obligations relating to or arising from or in connection
with the Chapter 11 Cases.

7.2.7 Cooperation Agreement

On the Effective Date, the Reorganized Debtors and the Asbestos PI Trust shall enter into
a cooperation agreement substantially in the form included as Exhibit 10 in the Exhibit Book.

7.2.8 Institution and Maintenance of Legal and other Proceedings

As of the Effective Date, without any further action of the Court or any Entity, the
Asbestos PI Trust shall be empowered to initiate, prosecute, defend, and resolve all legal actions
and other proceedings related to any asset, liability, or responsibility of the Asbestos PI Trust,
including the Asbestos PI Trust Causes of Action.

7.3. THE ASBESTOS PD TRUST

7.3.1 Creation of the Asbestos PD Trust

Upon the entry of the Confirmation Order, effective as of the Effective Date, the
Asbestos PD Trust shall be created pursuant to section 524(g) of the Bankruptcy Code and in
accordance with the Plan Documents. The Asbestos PD Trust shall be a “qualified settlement
fund” for federal income tax purposes within the meaning of the treasury regulations issued
pursuant to section 468B of the IRC.

The purpose of the Asbestos PD Trust shall be to, among other things, (i) assume the
liabilities of the Debtors with respect to all Asbestos PD Claims, (ii) pay and satisfy all Allowed
Asbestos PD Claims in Class 7A in accordance, as applicable, with this Plan, the Asbestos PD
Trust Agreement, the PD Settlement Agreements, the Class 7A CMO, and Final Orders
determining the Allowed Amount of such Asbestos PD Claims pursuant to the Class 7A CMO in
such a way that provides reasonable assurance that the Asbestos PD Trust will value, and be in a
financial position to pay, present and future Asbestos PD Claims in Class 7A (including
Demands, if any, that involve similar claims) in substantially the same manner and to otherwise
comply with Bankruptcy Code § 524(g)(2)(B)(i); (iii) pay and satisfy all US ZAI PD Claims in
Class 7B in accordance, as applicable, with this Plan, the Asbestos PD Trust Agreement and the
ZAI TDP in such a way that provides reasonable assurance that the Asbestos PD Trust will
value, and be in a financial position to pay, present and future US ZAI PD Claims in Class 7B
(including Demands, if any, that involve similar claims) in substantially the same manner and to
otherwise comply with Bankruptcy Code § 524(g)(2)(B)(i); (iv) preserve, hold, manage, and
maximize the assets of the Asbestos PD Trust for use in paying and satisfying Asbestos PD
Claims entitled to payment; (v) qualify at all times as a “qualified settlement fund” for federal
income tax purposes within the meaning of the treasury regulations issued pursuant to section
468B of the IRC; and (vi) otherwise carry out the provisions of the Asbestos PD Trust
Agreement, the ZAI TDP, and any other agreements into which the Asbestos PD Trustees have
entered or will enter in connection with this Plan.

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7.3.2 Funding of the Asbestos PD Trust

(a) On the Effective Date, Cryovac, Inc. shall transfer directly to the Asbestos PD
Trust its share of the amount of the Class 7A Initial Payment and Fresenius shall transfer directly
to the Asbestos PD Trust its share of the amount of the Class 7A Initial Payment. The Class 7A
Initial Payment shall remain segregated from (i) the Class 7B Initial Payment pursuant to the
terms of the Asbestos PD Trust Agreement and (ii) any payments made to the Asbestos PD Trust
on account of CDN ZAI PD Claims.

(b) On the Effective Date, the Asbestos PD Trust shall assume, or shall be deemed to
have assumed, the PD Settlement Agreements and shall immediately reserve and segregate from
the Class 7A Initial Payment all amounts required to be paid upon the occurrence of the Effective
Date pursuant to PD Settlement Agreements that require such payment, and shall provide for the
payment of such amounts in the manner and at the time set forth in such PD Settlement
Agreements.

(c) On the Effective Date, Cryovac, Inc. shall transfer directly to the Asbestos PD
Trust its share of the amount of the Class 7B Initial Payment and Fresenius shall transfer directly
to the Asbestos PD Trust its share of the amount of the Class 7B Initial Payment. The Class 7B
Initial Payment shall remain segregated from (i) the Class 7A Initial Payment pursuant to the
terms of the Asbestos PD Trust Agreement and (ii) any payments made to the Asbestos PD Trust
on account of CDN ZAI PD Claims.

(d) On the Effective Date, Grace-Conn or Parent shall, on behalf of the Reorganized
Debtors and the Non-Debtor Affiliates, transfer to the Asbestos PD Trust all funds as set forth in
the CDN ZAI Minutes of Settlement. The Asbestos PD Trust shall immediately transfer the
amounts set forth in the CDN ZAI Minutes of Settlement to the CDN ZAI PD Claims Fund to be
used in the manner set forth in the CDN ZAI Minutes of Settlement. In no event shall the
Asbestos PD Initial Payment (or any portion thereof) be transferred to the CDN ZAI PD Claims
Fund.

(e) After the Effective Date, Grace-Conn or Parent shall, on behalf of the
Reorganized Debtors and the Non-Debtor Affiliates, transfer to the Asbestos PD Trust all funds
as set forth in the Class 7A Asbestos PD Deferred Payment Agreement and the Class 7B
Asbestos PD Deferred Payment Agreement. Funds transferred pursuant to the Class 7A
Asbestos PD Deferred Payment Agreement shall remain segregated from funds transferred
pursuant to the Class 7B Asbestos PD Deferred Payment Agreement pursuant to the terms of the
Asbestos PD Trust Agreement.

7.3.3 Transfer of Claims and Demands to the Asbestos PD Trust

On the Effective Date, without any further action of any Entity, all liabilities, obligations,
and responsibilities of any Asbestos Protected Party with respect to all Asbestos PD Claims shall
be channeled to and assumed by the Asbestos PD Trust. This Section 7.3.3 is intended to further
effect the Asbestos PD Channeling Injunction described in Section 8.3 of the Plan, and the

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discharge described in Section 8.1 of this Plan. This Section 7.3.3 is not intended to, and it shall
not, serve as a waiver of any defense to any claim the Debtors, the Asbestos PD Trust or any
other Asbestos Protected Party would otherwise have.

7.3.4 Assignment and Enforcement of Asbestos PD Trust Causes of Action

On the Effective Date, by virtue of the confirmation of this Plan, without further notice,
action, or deed, the Asbestos PD Trust Causes of Action shall be automatically transferred and
assigned to, and indefeasibly vested in, the Asbestos PD Trust, and the Asbestos PD Trust shall
thereby become the estate representative pursuant to § 1123(b)(3)(B) of the Bankruptcy Code
with respect to the Asbestos PD Trust Causes of Action, with the exclusive right to enforce the
Asbestos PD Trust Causes of Action, against any Entity, except those related to Claims and
Demands in Class 7A, which shall be enforced by the Reorganized Debtors on behalf of the
Asbestos PD Trust, and the proceeds of the recoveries of such Asbestos PD Trust Causes of
Action shall be deposited in and shall become the property of the Asbestos PD Trust; provided,
however, that nothing herein shall alter, amend or modify the injunctions and/or releases
provided under this Plan including the Asbestos PD Channeling Injunction, the Asbestos PI
Channeling Injunction, the Successor Claims Injunction, and the Asbestos Insurance Entity
Injunction.

7.3.5 Appointment and Termination of Asbestos PD Trustees

The initial Class 7A Trustee (as defined in the Asbestos PD Trust Agreement) of the
Asbestos PD Trust shall be the person identified in the Asbestos PD Trust Agreement, and the
initial Class 7B Trustee (as defined in the Asbestos PD Trust Agreement) of the Asbestos PD
Trust shall be the person identified in the Asbestos PD Trust Agreement. Their functions are set
forth more fully in the Asbestos PD Trust Agreement. All successor Asbestos PD Trustees shall
be appointed in accordance with the terms of the Asbestos PD Trust Agreement. Upon
termination of the Asbestos PD Trust, the Asbestos PD Trustees’ employment shall be deemed
terminated and the Asbestos PD Trustees shall be released and discharged of and from all further
authority, duties, responsibilities and obligations relating to or arising from or in connection with
the Chapter 11 Cases.

7.3.6 Creation and Termination of the Zonolite Attic Insulation TAC

The Zonolite Attic Insulation Trust Advisory Committee or ZTAC shall be established
pursuant to the Asbestos PD Trust Agreement. The ZTAC shall have three members that will
have the functions, duties and rights provided in the Asbestos PD Trust Agreement, and ZAI
TDP. Initial members of the ZTAC shall be those three individuals named in the Asbestos PD
Trust Agreement and the ZAI TDP. Upon termination of the Asbestos PD Trust, the ZTAC shall
be deemed dissolved and the ZTAC shall be released and discharged of and from all further
authority, duties, responsibilities and obligations relating to or arising from or in connection with
the Chapter 11 Cases.

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74 PAYMENTS AND DISTRIBUTIONS UNDER THIS PLAN

7.4.1 Asbestos PI Trust Payments, Asbestos PD Trust Payments and Plan
Distributions

Payments to Holders of Asbestos PI Claims shall be made by the Asbestos PI Trust in
accordance with the Asbestos PI Trust Agreement and the Asbestos PI TDP. Payments to
Holders of Asbestos PD Claims shall be made by the Asbestos PD Trust as and when due in
accordance with the Asbestos PD Trust Agreement, PD Settlement Agreements, the Class 7A
CMO, any Final Orders of the Bankruptcy Court allowing Claims in Class 7A, and the ZAI TDP
for Claims in Class 7B. Payments to Holders of CDN ZAI PD Claims shall be made pursuant to
the CDN ZAI Minutes of Settlement by the CDN ZAI PD Claims Fund. All other Distributions
or payments required or permitted to be made under this Plan (other than to Professionals) shall
be made by the Reorganized Debtors or, in their discretion, a disbursing agent employed by the
Reorganized Debtors, in accordance with the treatment specified for each such Holder as
specified herein (unless otherwise ordered by the Bankruptcy Court). Distributions to be made
on the Effective Date, the Initial Tax Distribution Date or the Quarterly Tax Distribution Date
shall be deemed actually made on such distribution date if made either (i) on the Effective Date,
the Initial Tax Distribution Date or the Quarterly Tax Distribution Date or (ii) as soon as
practicable thereafter, but not more than 10 days thereafter; provided, however, that Distributions
and transfers to the Asbestos PI Trust of the Asbestos PI Trust Assets shall be made on the
Effective Date, and Distributions and transfers to the Asbestos PD Trust of the Asbestos PD
Trust Assets and the funds set forth in the CDN ZAI Minutes of Settlement payable to the CDN
ZAI PD Claims Fund shall be made on the Effective Date. Distributions to be made on the date
that a Plan Claim becomes an Allowed Claim, rather than on the Effective Date, shall be deemed
actually made on such date if made on or before the Post-Effective Distribution Date with
respect to such Claim. Notwithstanding that Distributions to Allowed Claims may be deemed
made on the date that a Plan Claim becomes an Allowed Claim as per the preceding sentence,
nothing in this Section shall modify the calculation of post-petition interest through the date of
payment for General Unsecured Claims that become Allowed General Unsecured Claims after
the Effective Date as set forth in Section 3.1.9(b) of the Plan. Except as otherwise provided
herein, Professionals shall be paid pursuant to orders of the Bankruptcy Court.

Under no circumstances shall any fractional shares of Sealed Air Common Stock be
transferred pursuant to the Asbestos PI Trust Agreement such that any Entity shall be the
transferee of less than one thousand shares of Sealed Air Common Stock, provided, however,
that in no event shall the Asbestos PI Trust incur any costs or expenses associated with such one
thousand share limitation.

7.4.2 Timing of Plan Distributions

Whenever any Distribution to be made under this Plan shall be due on a day other than a
Business Day, such Distribution shall instead be made, without the accrual of any additional
interest (if interest is accruing pursuant to this Plan), on the immediately succeeding Business
Day, but shall be deemed to have been made on the date due.

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7.55 DELIVERY OF DISTRIBUTIONS AND UNDELIVERABLE OR UNCLAIMED
DISTRIBUTIONS.

7.5.1 Delivery by the Reorganized Debtors of Distributions in General

Payments by the Asbestos PI Trust to Holders of Asbestos PI Claims shall be made in
accordance with the Asbestos PI Trust Agreement and the Asbestos PI TDP. Payments to
Holders of Asbestos PD Claims shall be made by the Asbestos PD Trust as and when due in
accordance with the Asbestos PD Trust Agreement, PD Settlement Agreements, any Final
Orders of the Bankruptcy Court allowing Claims in Class 7A, and the ZAI TDP for Claims in
Class 7B. Payments to Holders of CDN ZAI PD Claims shall be made by the CDN ZAI PD
Claims Fund in accordance with the procedures set forth in the CDN ZAI Minutes of Settlement.
All Distributions to Holders of Allowed Claims shall be made at the address of the Holder of
such Allowed Claim as set forth on the Schedules, unless superseded by a new address set forth
(i) on a proof of claim Filed by a Holder of an Allowed Claim, (ii) in another writing notifying
the Reorganized Debtors of a change of address prior to the date of Distribution, or (iii) in a
request for payment of an Administrative Expense Claim.

7.5.2 Undeliverable Distributions by the Reorganized Debtors

Any Cash, assets, and other properties to be distributed by the Reorganized Debtors
under this Plan to Holders of Plan Claims, other than Asbestos PI Claims and Asbestos PD
Claims, that remain unclaimed (including by an Entity’s failure to negotiate a check issued to
such Entity) or otherwise not deliverable to the Entity entitled thereto one year after Distribution
shall become vested in, and shall be transferred and delivered to, the Reorganized Debtors. In
such event, such Entity’s Plan Claim shall no longer be deemed to be Allowed or payable by the
Reorganized Debtors, and such Entity shall be deemed to have waived its rights to such
payments or Distributions under this Plan pursuant to Bankruptcy Code § 1143, shall have no
further Claim in respect of such Distribution, and shall not participate in any further
Distributions under this Plan with respect to such Claim.

7.6 PAYMENTS UNDER THIS PLAN

7.6.1 Manner of Cash Payments under this Plan

Unless the Entity receiving a Distribution or payment agrees otherwise, any such
Distribution or payment to be made by the Reorganized Debtors, the Asbestos PI Trust, or the
Asbestos PD Trust in Cash shall be made, at the election of the Reorganized Debtors, the
Asbestos PI Trust, or the Asbestos PD Trust as applicable, by check drawn on a domestic bank
or by wire transfer from a domestic bank; provided, however, that Distributions of Cash to the
Asbestos PI Trust and the Asbestos PD Trust shall be by wire transfer.

7.6.2 Fractional Payments under this Plan
Notwithstanding any other provision of this Plan, payments of fractions of dollars or of
fractional shares shall not be made. Whenever, under this Plan, any payment of a fraction of a

dollar or a fractional share of Parent Common Stock would otherwise be called for, the actual

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payment made shall reflect a rounding of such fraction to the nearest whole dollar or nearest
whole share of Parent Common Stock, as applicable, (up or down), with half dollars or half
shares being rounded up.

7.7 | CONDITIONS TO OCCURRENCE OF THE CONFIRMATION DATE

The Court shall have made the following findings of fact, conclusions of law, orders,
and/or decrees among others, substantially to the effect as follows, in connection with the
confirmation of this Plan, each of which shall be expressly set forth in the Confirmation Order:

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(b)

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The Plan satisfies all applicable sections of the Bankruptcy Code,
including Bankruptcy Code § 524(g);

Claimants in Classes 6, 7, and 8 have voted to accept the Plan in the
requisite numbers and amounts required by Bankruptcy Code §§ 524(g),
1126, and 1129;

As of the Petition Date, the Debtors have been named as defendants in
personal injury, wrongful death, and property damage actions seeking
recovery for damages allegedly caused by the presence of, or exposure to,
asbestos or asbestos-containing products;

Effective as of the Effective Date, the Asbestos PI Trust shall be created
and the Asbestos PD Trust shall be created pursuant to Bankruptcy Code
§ 524(g) and in accordance with the Plan Documents;

The Asbestos PI Trust and the Asbestos PD Trust shall be “qualified
settlement funds” for federal income tax purposes within the meaning of
the treasury regulations issued pursuant to section 468B of the IRC and
shall be subject to the continuing jurisdiction of the Bankruptcy Court;

On the Effective Date, the Asbestos PI Trust shall assume the liabilities of
the Debtors with respect to all Asbestos PI Claims, the Asbestos PD Trust
shall assume the liabilities of the Debtors with respect to all Asbestos PD
Claims, and the CDN ZAI PD Claims Fund contemplated by the CDN
ZAI Minutes of Settlement shall assume the liabilities of the Debtors with
respect to all CDN ZAI PD Claims;

The Asbestos PI Trust and the Asbestos PD Trust are to be funded in part
by securities of the Parent and by the obligations of the Reorganized
Parent to make future payments, including dividends;

The Asbestos PI Trust and the Asbestos PD Trust are to own, or by the
exercise of rights granted under the Plan would be entitled to own if
specified contingencies occur, a majority of the voting shares of the
Reorganized Parent;

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The Asbestos PI Trust is to use the Asbestos PI Trust Assets to pay
Asbestos PI Claims (including Demands) and Asbestos PI Trust Expenses,
and the Asbestos PD Trust is to use the Asbestos PD Trust Assets to pay
Asbestos PD Claims (including Demands, if any) and Asbestos PD Trust
Expenses, and the CDN ZAI PD Claims Fund is to use the funds identified
in the CDN ZAI Minutes of Settlement to pay CDN ZAI PD Claims and
the expenses outlined in the CDN ZAI Minutes of Settlement;

The Debtors are likely to be subject to substantial future Demands for
payment arising out of the same or similar conduct or events that gave rise
to the Asbestos PI Claims, which Demands are addressed by the Asbestos
PI Channeling Injunction, and the Debtors are likely to be subject to
substantial future Demands for payment arising out of the same or similar
conduct or events that gave rise to the Asbestos PD Claims, which
Demands, if any, are addressed by the Asbestos PD Channeling
Injunction;

The actual amounts, numbers, and timing of such future Demands cannot
be determined;

Pursuit of such Demands outside the procedures prescribed by the Plan is
likely to threaten the Plan’s purpose to deal equitably with the Asbestos PI
Claims, the Asbestos PD Claims, and the CDN ZAI PD Claims;

The terms of the Asbestos PI Channeling Injunction, the Asbestos PD
Channeling Injunction, the Successor Claims Injunction, and the Asbestos
Insurance Entity Injunction, and any provisions barring actions against
third parties, are set out in the Plan and the Disclosure Statement, and each
of the Plan and the Disclosure Statement adequately describe such
injunctions and provisions (and the acts and entities to which they apply)

in specific and conspicuous language in accordance with the requirements
of Bankruptcy Rule 3016(c));

Pursuant to Court orders or otherwise, the Asbestos PI Trust, the Asbestos
PD Trust, and CDN ZAI PD Claims Fund shall operate through
mechanisms such as structured, periodic, or supplemental payments, pro
rata distributions, matrices, or periodic review of estimates of the numbers
and values of (1) Asbestos PI Claims (including Demands) in the case of
the Asbestos PI Trust, (2) Asbestos PD Claims (including Demands, if
any) in the case of the Asbestos PD Trust, or (3) CDN ZAI PD Claims
(including Demands, if any) in the case of the CDN ZAI PD Claims Fund,
or other comparable mechanisms that provide reasonable assurance that
the Asbestos PI Trust shall value, and be in a financial position to pay,
Asbestos PI Claims (including Demands that involve similar claims) in
substantially the same manner, that the Asbestos PD Trust shall value, and
be in a financial position to pay Asbestos PD Claims (including Demands,
if any, that involve similar claims) in substantially the same manner, and

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that the CDN ZAI PD Claims Fund shall value, and be in a financial
position to pay CDN ZAI PD Claims (including Demands, if any, that
involve similar claims) in substantially the same manner;

The Asbestos PI FCR has been appointed by the Bankruptcy Court as part
of the proceedings leading to the issuance of the Asbestos PI Channeling
Injunction for the purpose of, among other things, protecting the rights of
Entities that might subsequently assert Demands of the kind that are
addressed in the Asbestos PI Channeling Injunction and transferred to the
Asbestos PI Trust;

The Asbestos PD FCR has been appointed by the Bankruptcy Court as
part of the proceedings leading to the issuance of the Asbestos PD
Channeling Injunction for the purpose of, among other things, protecting
the rights of Entities that might subsequently assert Demands, if any, of
the kind that are addressed in the Asbestos PD Channeling Injunction and
transferred to the Asbestos PD Trust;

CCAA Representative Counsel has been appointed by the Canadian Court
as part of proceedings leading to the issuance of the Asbestos PD
Channeling Injunction for the purpose of, among other things, protecting
the rights of Entities that might subsequently assert Demands, if any, of
the kind that are addressed in the Asbestos PD Channeling Injunction and
transferred to the CDN ZAI PD Claims Fund;

The Court has jurisdiction over each of the Claims, SA Claims, Grace-
Related Claims, and Demands that is subject to any of (i) the Asbestos PI
Channeling Injunction described in Section 8.2 of the Plan, (ii) the
Asbestos PD Channeling Injunction described in Section 8.3 of the Plan,
(iii) the Successor Claims Injunction described in Section 8.5 of the Plan,
and (iv) the releases described in the Plan;

In light of the benefits provided, or to be provided, to the Asbestos PI
Trust and the Asbestos PD Trust by, or on behalf of, each Asbestos
Protected Party (including the Sealed Air Indemnified Parties and the
Fresenius Indemnified Parties), (i) the Asbestos PI Channeling Injunction
is fair and equitable (including with respect to the Entities that might
subsequently assert Demands against any Asbestos Protected Party) and is
supported by reasonable consideration, (ii) the Asbestos PD Channeling
Injunction is fair and equitable (including with respect to the Entities that
might subsequently assert Demands, if any, against any Asbestos
Protected Party) and is supported by reasonable consideration, (iii) the
Successor Claims Injunction is fair and equitable and is supported by
reasonable consideration, and (iv) the releases in favor of the Asbestos
Protected Parties described in the Plan are fair and equitable and are
supported by reasonable consideration;

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The Asbestos PI Channeling Injunction, the Asbestos PD Channeling
Injunction, the Successor Claims Injunction, the Asbestos Insurance Entity
Injunction, and the releases in favor of the Asbestos Protected Parties
described in the Plan are to be implemented and granted in connection
with the Plan and the Plan Documents;

The Asbestos PI Channeling Injunction, the Asbestos PD Channeling
Injunction, the Successor Claims Injunction, and the releases in favor of
the Asbestos Protected Parties described in the Plan (i) are essential to the
Debtors’ reorganization efforts and the feasibility of the Plan, (ii) provide
necessary funding to the Plan that otherwise would be unavailable absent
the injunctions and releases, (iii) are necessary to induce the Asbestos
Protected Parties (including Sealed Air and Fresenius) to enter into the
settlements and agreements described in the Plan and to otherwise settle
their disputes, and (iv) are necessary to resolve finally all claims of the
Debtors, the Non-Debtor Affiliates, and the Debtors’ creditors against the
other Asbestos Protected Parties (including the Sealed Air Indemnified
Parties and the Fresenius Indemnified Parties);

An identity of interests exists among the Debtors and the Asbestos
Protected Parties such that an Asbestos PI Claim (including a Successor
Claim based upon an Asbestos PI Claim and/or a Successor Claim based
on or arising from, in whole or in part, directly or indirectly, the Cryovac
Transaction or the Fresenius Transaction) asserted against any of the
Asbestos Protected Parties gives rise to a Claim against the Debtors,
including by the operation of the law of indemnity (contractual or
otherwise) and/or contribution; and an Asbestos PD Claim or CDN ZAI
PD Claim (including a Successor Claim based upon an Asbestos PD
Claim or CDN ZAI PD Claim and/or a Successor Claim based on or
arising from, in whole or in part, directly or indirectly, the Cryovac
Transaction or the Fresenius Transaction) asserted against any of the
Asbestos Protected Parties gives rise to a Claim against the Debtors,
including by the operation of the law of indemnity (contractual or
otherwise) and/or contribution;

The Sealed Air Settlement Agreement is essential and integral to the Plan,
and the payment of the Cryovac Payment to the Asbestos PI Trust and the
Asbestos PD Trust in accordance with the Sealed Air Settlement
Agreement and the terms of the Plan, together with the other Asbestos PI
Trust Assets and the Asbestos PD Trust Assets to be transferred to the
Asbestos PI Trust and the Asbestos PD Trust, respectively, pursuant to the
Plan, constitute both (i) substantial assets of the Plan and the
reorganization, and (ii) a fair, reasonable, and equitable settlement of all
claims, potential claims, and Demands against the Asbestos Protected
Parties (including, with respect to the Sealed Air Indemnified Parties, all
Asbestos-Related Claims and any other claims, potential claims, and
Demands for which the Sealed Air Settlement Agreement contemplates a

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release or injunction in favor of the Sealed Air Indemnified Parties) that
are subject to the injunctions and releases described in the Plan, and the
only unsatisfied conditions precedent to payment of the Cryovac Payment
are the satisfaction or waiver of the conditions to the Effective Date in
accordance with Section 7.8 of this Plan;

The Fresenius Settlement Agreement is essential and integral to the Plan,
and the payment of the Fresenius Payment to the Asbestos PI Trust and
the Asbestos PD Trust in accordance with the Plan, together with the other
Asbestos PI Trust Assets to be transferred to the Asbestos PI Trust
pursuant to the Plan, constitute both (i) substantial assets of the Plan and
the reorganization, and (ii) a fair, reasonable, and equitable settlement of
all claims, potential claims, and Demands against the Asbestos Protected
Parties (including, with respect to the Fresenius Indemnified Parties, the
Grace-Related Claims, all Asbestos-Related Claims and Demands related
thereto and any other claims, potential claims, and Demands for which the
Fresenius Settlement Agreement contemplates a release or injunction in
favor of the Fresenius Indemnified Parties) that are subject to the
injunctions and releases described in the Plan, and the only unsatisfied
conditions to payment of the Fresenius Payment are the satisfaction or
waiver of the conditions to the Effective Date in accordance with Section
7.8 of this Plan;

The SA Debtors, the Plaintiffs, and the SA Non-Debtor Affiliates
understand and agree, and the Court so finds, that Sealed Air has entered
into the Sealed Air Settlement Agreement in order to settle, release,
extinguish, and terminate fully, finally, and forever any and all further
controversy respecting any and all Asbestos-Related Claims and any and
all Demands related thereto against the Sealed Air Indemnified Parties.
The SA Debtors, the Plaintiffs, and the SA Non-Debtor Affiliates have
acknowledged and agreed that this provision is an essential and material
term of the Sealed Air Settlement Agreement and the compromise
settlement leading to the Sealed Air Settlement Agreement, and that,
without such provision, neither Sealed Air Corporation nor Cryovac, Inc.
would have executed the Sealed Air Settlement Agreement and the
compromise settlement would not have been accomplished;

The Debtors, the Plaintiffs, and the Non-Debtor Affiliates understand and
agree, and the Court so finds, that Fresenius has entered into the Fresenius
Settlement Agreement in order to settle, release, extinguish, and terminate
fully, finally, and forever any and all further controversy respecting any
and all Asbestos-Related Claims against the Fresenius Indemnified
Parties. The Debtors, the Plaintiffs, and the Non-Debtor Affiliates have
acknowledged and agreed that this provision is an essential and material
term of the Fresenius Settlement Agreement, and that, without such
provision, Fresenius would not have executed the Fresenius Settlement

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Agreement and the compromise settlement would not have been
accomplished;

The settlements, compromises, releases, and injunctions in favor of the
Asbestos Protected Parties described in the Plan (including those
described in the Sealed Air Settlement Agreement and the Fresenius
Settlement Agreement) are approved in all respects;

In approving the settlements, compromises, releases, and injunctions with
respect to the Asbestos Protected Parties (including the Sealed Air
Settlement Agreement and the Fresenius Settlement Agreement, and the
releases and injunctions in favor of the Sealed Air Indemnified Parties and
the Freserfius Indemnified Parties), the Court has considered, among other
things: (i) the nature of the claims asserted or potentially asserted by the
Debtors, the Non-Debtor Affiliates, the Plaintiffs (on behalf of the
Debtors’ creditors, stakeholders, and estates), and/or the Debtors’ creditors
against the Asbestos Protected Parties, and the claims asserted or
potentially assertable by the Asbestos Protected Parties against the
Debtors and the Non-Debtor Affiliates, (ii) the balance of the likelihood of
success of claims which might be asserted by the Debtors or other
claimants against the Asbestos Protected Parties against the likelihood of
success of the defenses or counterclaims possessed by the Asbestos
Protected Parties, (iii) the complexity, cost, and delay of litigation that
would result in the absence of these settlements, compromises, releases,
and injunctions, (iv) the lack of objections by, or the overruling of
objections of any creditor or party-in-interest to the settlements,
compromises, releases and injunctions, (v) that the Asbestos PI Claims
will be channeled to the Asbestos PI Trust rather than extinguished, (vi)
that the Estate Parties and the Asbestos PI Trust will receive substantial
consideration from the Asbestos Protected Parties described in the Plan,
(vii) that the Asbestos PD Claims will be channeled to the Asbestos PD
Trust rather than extinguished, and the CDN ZAI PD Claims will be
channeled to the CDN ZAI PD Claims Fund rather than extinguished,
(vili) that the Estate Parties and the Asbestos PD Trust will receive
substantial consideration from or on behalf of the Asbestos Protected
Parties described in the Plan, (ix) that the Asbestos Protected Parties that
will benefit from the releases and injunctions share an identity of interest
with the Debtors, (x) that the enjoined claims against the Asbestos
Protected Parties would otherwise indirectly impact the Debtors’
reorganization by way of indemnity or contribution, and (xi) the Plan and
the settlements, compromises, releases, and injunctions described in the
Plan are the product of extensive arms’ length negotiations among the
Debtors, the Asbestos PI Committee, the Asbestos PI FCR, the Asbestos
PD FCR, and the Asbestos Protected Parties, among others;

As of the Effective Date, the Reorganized Debtors will have the ability to
pay and satisfy in the ordinary course of business their respective

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obligations and liabilities, including any and all indemnification
obligations to the Sealed Air Indemnified Parties and the Fresenius
Indemnified Parties with respect to present and future Asbestos-Related
Claims and Demands related thereto, SA Indemnified Taxes, Fresenius
Indemnified Taxes, and all other obligations set forth in the Fresenius
Settlement Agreement and the Sealed Air Settlement Agreement;

Upon the transfer of the Sealed Air Common Stock to the Asbestos PI
Trust, the Asbestos PI Trustees shall represent and warrant to and agree
with (on behalf of the Asbestos PI Trust) Sealed Air, that the Asbestos PI
Trust is acquiring the Sealed Air Common Stock for its own account for
investment and not with a view toward distribution in a manner which
would violate the Securities Act and the Asbestos PI Trust and its
transferees will comply with all filing and other reporting obligations
under all applicable laws which shall be applicable to such Asbestos PI
Trust with respect to the Sealed Air Common Stock;

On or before the Effective Date, (i) the SA Debtors, the Asbestos PD
Committee, and the Asbestos PI Committee shall have executed and
delivered the “Release” (as defined in the Sealed Air Settlement
Agreement), (ii) the “Government Plaintiff’ (as defined in the Sealed Air
Settlement Agreement) shall have executed and delivered the
“Government Release” (as defined in the Sealed Air Settlement
Agreement), and (iii) the Asbestos PI Committee and the Asbestos PD
Committee shall have delivered the “Fresenius Release” (as defined in the
Sealed Air Settlement Agreement), all as provided for in the Sealed Air
Settlement Agreement. In addition, in consideration for the Cryovac
Payment, (i) each of the SA Non-Debtor Affiliates shall irrevocably
release, acquit, and forever discharge the Sealed Air Indemnified Parties
from any and all (A) present and future Asbestos-Related Claims and
Demands relating thereto and (B) present and future SA Claims, Canadian
Claims, SA Debts, and SA Damages on the basis of, arising from, or
attributable to (in whole or in part, directly or indirectly) the Fresenius
Transaction that have accrued or been asserted or that hereafter might
accrue or be asserted against the Sealed Air Indemnified Parties and (ii)
each SA Non-Debtor Affiliate shall not institute, participate in, maintain,
maintain a right to or assert against the Sealed Air Indemnified Parties,
either directly or indirectly, on its own behalf, derivatively, or on behalf of
any other Entity, any and all present and future Asbestos-Related Claims
and/or Demands relating thereto, and any and all present and future SA
Claims, Canadian Claims, SA Debts, and SA Damages on the basis of,
arising from, or attributable to (in whole or in part, directly or indirectly)
the Fresenius Transaction;

The Asbestos Protected Parties shall receive the full benefit of the
Asbestos PI Channeling Injunction and the Asbestos PD Channeling
Injunction under Bankruptcy Code § 524(g) and the Successor Claims

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Injunction under Bankruptcy Code § 105(a), which Asbestos PI
Channeling Injunction, Asbestos PD Channeling Injunction, and
Successor Claims Injunction (1) shall be in form and substance reasonably
acceptable to Sealed Air Corporation, Cryovac Inc., and Fresenius, and (2)
as applicable, include provisions enjoining any and all Entities from taking
any and all legal or other actions (including the continued prosecution of
pending “Actions” or the commencement of future “Actions” as such term
is used in paragraph II(c)(vi) of the Sealed Air Settlement Agreement) or
making any Demand for the purpose of, directly or indirectly, claiming,
collecting, recovering, or receiving any payment, recovery, or any other
relief whatsoever from any and all of the Asbestos Protected Parties with
respect to any and all Asbestos PI Claims, Asbestos PD Claims, CDN ZAI
PD Claims, and/or Successor Claims based on or arising from, in whole or
in part, directly or indirectly, the Cryovac Transaction or the Fresenius
Transaction;

Each of the SA Debtors and the Plaintiffs have acknowledged and agreed

. that the Sealed Air Common Stock to be transferred to the Asbestos PI

Trust has not been and, upon delivery of such Sealed Air Common Stock
to the Asbestos PI Trust, shall not be registered under the Securities Act
and that the certificates for such Sealed Air Common Stock shall bear a
legend to that effect. Each of the SA Debtors and the Plaintiffs understand
and have acknowledged that any transfer by Cryovac, Inc. of Sealed Air
Common Stock to the Asbestos PI Trust is being made pursuant to an
exemption from registration contained in the Securities Act based in part
upon the foregoing representation and the representations contained in the
Sealed Air Settlement Agreement;

The SA Debtors shall, jointly and severally, at their sole expense,
indemnify, defend, and hold harmless the Sealed Air Indemnified Parties
from and against (1) any and all present and future Asbestos-Related
Claims and Demands related thereto and all SA Indemnified Taxes, (2)
any and all losses costs, and expenses incurred as a result of any breach of
any of the SA Debtors’ or SA Non-Debtor Affiliates’ obligations,
covenants, and agreements set forth or referred to in the Sealed Air
Settlement Agreement, including any such obligation, covenant, or
agreement of any SA Debtors or SA Non-Debtor Affiliates set forth in the
Plan or Confirmation Order, (3) if any SA Non-Debtor Affiliate has not
executed and delivered a “Release” (as defined in the Sealed Air
Settlement Agreement), any and all Asbestos-Related Claims and
Demands related thereto based on, arising out of, or attributable to,
directly or indirectly, in whole or in part, such SA Non-Debtor Affiliate
and (4) any and all attorneys’ fees or costs and expenses attributable to
any “SA Indemnity Claim” (as defined below), provided, however, that in
each case such indemnification shall not apply to “Excluded Fees” (as
defined in the Sealed Air Settlement Agreement) such indemnity
obligations, collectively, the “SA Debtors’ Indemnity Obligation”; and

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any and all SA Claims, SA Debts, or SA Damages that could be asserted
by any of the Sealed Air Indemnified Parties under the SA Debtors’
Indemnity Obligation, the “SA Indemnity Claims”), and provided, further,
that nothing in the Sealed Air Settlement Agreement shall adversely affect
any rights of any Entity to file and pursue, or object to, a proof of claim
for “Excluded Fees” (as defined in the Sealed Air Settlement Agreement)
in the Chapter 11 Cases;

Fach SA Debtor shall execute and deliver an indemnity agreement in
favor of the Sealed Air Indemnified Parties in the form annexed as Exhibit
6 to the Sealed Air Settlement Agreement;

The SA Debtors’ Indemnity Obligation (and the obligations, covenants,
and agreements of each of the SA Debtors and SA Non-Debtor Affiliates
set forth or referred to in the Sealed Air Settlement Agreement, including
any such obligation, covenant, or agreement of any SA Debtor or SA Non-
Debtor Affiliate set forth in the Plan or Confirmation Order) shall not be
discharged, expunged, estimated, or otherwise adversely affected in the
Chapter 11 Cases or by the confirmation of the Plan;

The SA Debtors’ Indemnity Obligation (and the obligations, covenants,
and agreements of each of the SA Debtors and SA Non-Debtor Affiliates
set forth or referred to in the Sealed Air Settlement Agreement, including
any such obligation, covenant, or agreement of any SA Debtor or SA Non-
Debtor Affiliate set forth in the Plan or Confirmation Order) shall continue
unaffected as a post-confirmation obligation of each of the Reorganized
Debtors;

The Debtors, the Asbestos PI Committee, the Asbestos PI FCR, the
Asbestos PI TAC, and the Asbestos PI Trustees have (i) promptly
provided to Cryovac, Inc. and Fresenius all “Material Drafts” (as defined
in the Sealed Air Settlement Agreement) of the Asbestos PI Trust
Agreement and each related “Trust Document” (as defined in the Sealed
Air Settlement Agreement) (but excluding or redacting drafts of the
Asbestos PI TDP), and (ii) incorporated promptly (if it was the party
drafting such document), or if otherwise, urged the party drafting such
document promptly to incorporate, into any such document each provision
with respect to the subject matter set forth or referred to in paragraphs
II(c)(ix), (x), and (xi) paragraph Vi(g), clauses (i)(A) through (D), and
paragraph VI(c) of the Sealed Air Settlement Agreement that were
reasonably requested by Cryovac, Inc. or Fresenius;

The Debtors, the Asbestos PD Committee, and the Asbestos PD FCR have
(i) promptly provided to Cryovac, Inc. and Fresenius all “Material Drafts”
(as defined in the Sealed Air Settlement Agreement) of the Asbestos PD
Trust Agreement and each related “Trust Document” (as defined in the
Sealed Air Settlement Agreement) (but excluding or redacting drafts of the

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ZAI TDP), and (ii) incorporated promptly (if it was the party drafting such
document), or if otherwise, urged the party drafting such document
promptly to incorporate, into any such document each provision with
respect to the subject matter set forth or referred to in paragraphs II(c)(ix),
(x), and (xi) paragraph VI(g), clauses (i)(A) through (D), and paragraph
VI(c) of the Sealed Air Settlement Agreement that were reasonably
requested by Cryovac, Inc. or Fresenius;

SA Debtors and SA Non-Debtor Affiliates shall take all actions required
or requested by Sealed Air as contemplated in the Sealed Air Settlement
Agreement and shall be prohibited from taking any actions prohibited by
Sealed Air as provided by the Sealed Air Settlement Agreement with
respect to’ tax matters, including those set forth in Annex I hereto and
those set forth in paragraphs II(c)(x), IV, and VI of the Sealed Air
Settlement Agreement and those provisions of the Sealed Air Settlement
Agreement are incorporated herein as if fully set forth herein and shall
likewise be incorporated into the Confirmation Order as if fully set forth
therein;

The Plaintiffs, Asbestos PI Trust and Asbestos PD Trust shall take all
actions required or requested by Sealed Air as provided by the Sealed Air
Settlement Agreement and shall be prohibited from taking any actions
prohibited by Sealed Air as contemplated in the Sealed Air Settlement
Agreement with respect to tax matters, including those set forth in Annex
II hereto and those set forth in paragraphs II(c)(ix), II(c)(x) and II(c)(xi) of
the Sealed Air Settlement Agreement and those provisions of the Sealed
Air Settlement Agreement are incorporated herein as if fully set forth and
shall likewise be incorporated into the Confirmation Order as if fully set
forth therein;

Each of the SA Debtors acknowledge and agree that (i) to the extent that
any SA Debtor is required, pursuant to generally accepted accounting
principles, to accrue a liability for asbestos which liabilities are satisfied
by Cryovac, Inc. by a transfer made by Cryovac, Inc. directly to the
Asbestos PI Trust or Asbestos PD Trust pursuant to this Plan or the
Confirmation Order and such SA Debtor is required pursuant to generally
accepted accounting principles to reverse such accrual, to the extent that
there is more than one methodology under generally accepted accounting
principles pursuant to which the SA Debtors are allowed to reverse any
such accrual, such SA Debtor shall adopt the methodology, if any, not
inconsistent with the provisions of paragraphs VI(b) and VI(g) of the
Sealed Air Settlement Agreement, (ii) any payment or transfer by
Cryovac, Inc. directly to the Asbestos PI Trust or Asbestos PD Trust shall
not be treated, for financial accounting purposes, as resulting in an
expense or deduction of any SA Debtor or SA Non-Debtor Affiliate and
(iii) to the extent that any payment or transfer by Cryovac, Inc. directly to
the Asbestos PI Trust or Asbestos PD Trust results, for financial

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accounting purposes, in income to any SA Debtor, the SA Debtors shall
treat such income as income from the cancellation of indebtedness or
liabilities of the SA Debtors;

The Debtors and Estate Parties shall take all actions required or requested
by Fresenius as contemplated in the Fresenius Settlement Agreement and
be prohibited from taking any actions prohibited by Fresenius as
contemplated in the Fresenius Settlement Agreement with respect to tax
matters, including those outlined in Article III of the Fresenius Settlement
Agreement and those provisions of the Fresenius Settlement Agreement
are incorporated herein as if fully set forth and shall likewise be
incorporated into the Confirmation Order as if fully set forth therein;

The 1998 Tax Sharing Agreement shall be an assumed agreement of each
of the SA Debtors (including Grace New York and Grace-Conn) pursuant
to section 365 of the Bankruptcy Code, and nothing contained in or
contemplated by the Sealed Air Settlement Agreement, the Plan, or the
Confirmation Order shall adversely affect the rights of the Debtors, Sealed
Air Corporation or any of their Affiliates under the 1998 Tax Sharing
Agreement;

Upon confirmation, each of the Sealed Air Settlement Agreement, the
Sealed Air Settlement Order, the Fresenius Settlement Agreement and the
Fresenius Settlement Order shall be in full force and effect;

Subject to Section 7.7(uu) below, the duties and obligations of the
Asbestos Insurance Entities under the Asbestos Insurance Policies,
Asbestos Insurance Settlement Agreements, Asbestos In-Place Insurance
Coverage, and Asbestos Insurance Reimbursement Agreements are not
diminished, reduced or eliminated by (1) the discharge of the obligations
and liabilities of the Debtors and the Reorganized Debtors for and in
respect of all Asbestos PI Claims or (2) the assumption by the Asbestos PI
Trust of responsibility and liability for all Asbestos PI Claims;

As of the Effective Date, the Asbestos Insurance Transfer Agreement shall
be a valid and binding obligation of each the parties thereto, shall be in
full force and effect and shall be valid and enforceable in accordance with
its terms, in each case notwithstanding any anti-assignment provision in or
incorporated into any Asbestos Insurance Policy, Asbestos Insurance
Settlement Agreement, Asbestos In-Place Insurance Coverage, Asbestos
Insurance Reimbursement Agreement, or under applicable non-bankruptcy
law;

As of the Effective Date, each of the Asbestos PI Deferred Payment
Agreement, the Class 7A Asbestos PD Deferred Payment Agreement, the
Class 7B Asbestos PD Deferred Payment Agreement, the Share Issuance
Agreement, the Grace PI Guaranty, the Grace PD Guarantee Agreement

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for Class 7A, the Grace PD Guarantee Agreement for Class 7B, the Plan
Registration Rights Agreement, the Asbestos PI/PD Inter-Creditor
Agreement, the Warrant, and the Warrant Agreement shall be a valid and
binding obligation of each of the parties thereto and shall be in full force
and effect and enforceable in accordance with its terms;

(ww) All Asbestos PI Claims shall be resolved by and channeled to the Asbestos
PI Trust, all Asbestos PD Claims shall be resolved by and channeled to the
Asbestos PD Trust, and all CDN ZAI PD Claims shall be resolved by and
channeled to the CDN ZAI PD Claims Fund in the manner set forth in the
CDN ZAI Minutes of Settlement;

(xx) The Court shall have entered a Final Order allowing claims for post-
petition interest on account of the General Unsecured Claims arising from
the Pre-petition Credit Facilities in amounts that are not in excess of the
rates set forth in Section 3.1.9(b) of this Plan; and

(yy) The Canadian Settlement Approval Order shall have been entered.

(zz) As of the Effective Date, pursuant to Section 3.1(a) of the Asbestos PD
Trust Agreement, the Class 7B Trustee (as defined in the Asbestos PD
Trust Agreement) shall keep segregated the ZAI Trust Assets (as defined
in the Asbestos PD Trust Agreement) from the other Asbestos PD Trust
Assets at all times, and no non-US ZAI PD Claim or liability of any kind
shall ever be satisfied, either voluntarily or involuntarily, with ZAI Trust
Assets.

The Confirmation Order shall be in form and substance acceptable to (a) each of the Plan
Proponents, (b) with respect to any and all findings of fact, conclusions of law, orders, decrees,
provisions, and terms required to be included in the Confirmation Order by, or relating to, the
Sealed Air Settlement Agreement, Sealed Air (provided, however, that any specific findings,
conclusions, orders, decrees, provisions, and terms required to be included in the Confirmation
Order by the Sealed Air Settlement Agreement shall be included in the Confirmation Order as
they appear in the Sealed Air Settlement Agreement) and (c) with respect to any and all findings
of fact, conclusions of law, orders, decrees, provisions, and terms required to be included in the
Confirmation Order by, or relating to, the Fresenius Settlement Agreement, Fresenius (provided,
however, that any specific findings, conclusions, orders, decrees, provisions, and terms required
to be included in the Confirmation Order by the Fresenius Settlement Agreement shall be
included in the Confirmation Order as they appear in the Fresenius Settlement Agreement). This
Plan shall not be confirmed and the Confirmation Order shall not be entered until and unless
each of the foregoing conditions to confirmation is either satisfied or waived by each of the Plan
Proponents with the consent of each of Sealed Air Corporation, Cryovac, Inc., and Fresenius,
with the exception of the following: (1) Sections 7.7(w) and (nn) shall be waiveable by each of
the Plan Proponents with the consent of each of Sealed Air Corporation and Cryovac, Inc., and
without the consent of Fresenius; (2) Sections 7.7(x) and (qq) shall be waiveable by each of the
Plan Proponents with the consent of Fresenius and without the consent of Sealed Air; (3)
Sections 7.7(tt), (uu), and (vv) shall be waiveable by each of the Plan Proponents without the

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consent of Sealed Air and Fresenius, and (4) Section 7.7(xx) shall be waiveable only by each of
the Debtors and the Equity Committee without the consent of the other Plan Proponents, Sealed

Air, and Fresenius.

7.8 CONDITIONS TO OCCURRENCE OF THE EFFECTIVE DATE

The “effective date of the plan,” as used in Bankruptcy Code § 1129, shall not occur, and
this Plan shall be of no force and effect, until the Effective Date. The occurrence of the Effective
Date is subject to satisfaction of the following conditions precedent:

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The Court shall have entered the Confirmation Order granting the
Asbestos .PI Channeling Injunction, the Asbestos PD Channeling
Injunction, the Successor Claims Injunction, and the Asbestos Insurance
Entity Injunction to take effect as of the Effective Date, and the
Confirmation Order shall have become a Final Order and shall have been a
Final Order for a minimum of ten Business Days;

The District Court shall have entered, issued, or affirmed an order(s)
approving each of the Asbestos PI Channeling Injunction, the Asbestos
Insurance Entity Injunction, the Successor Claims Injunction, the Asbestos
PD Channeling Injunction, and all releases in favor of the Asbestos
Protected Parties, in its entirety, and such order(s) shall have become Final
Orders;

The District Court shall have entered, issued, or affirmed the Confirmation
Order, and such order shall have become a Final Order;

The Asbestos PI Channeling Injunction, the Asbestos PD Channeling
Injunction, the Successor Claims Injunction, the Asbestos Insurance Entity
Injunction, and all releases in favor of the Asbestos Protected Parties shall
be in full force and effect;

Each of the Plan Documents, including each of the exhibits and
attachments to the Sealed Air Settlement Agreement and the Fresenius
Settlement Agreement, shall have been (i) executed or otherwise finalized,
as the case may be, in a form acceptable to each of the Plan Proponents,
Sealed Air, and Fresenius, provided, however, that the exhibits and
attachments to the Sealed Air Settlement Agreement and the Fresenius
Settlement Agreement shall be executed or otherwise finalized in the form
attached to the Sealed Air Settlement Agreement and the Fresenius
Settlement Agreement (as the case may be), (ii) delivered to Sealed Air
and Fresenius, and (iii) where applicable, filed with the appropriate
governmental or supervisory authorities;

On or before the Effective Date, (i) the SA Debtors, the Asbestos PD
Committee and the Asbestos PI Committee shall have executed and
delivered the “Release” (as defined in the Sealed Air Settlement

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Agreement); (ii) the “Government Plaintiff’ (as defined in the Sealed Air
Settlement Agreement) shall have executed and delivered the
“Government Release” (as defined in the Sealed Air Settlement
Agreement); and (iti) the Asbestos PI Committee and the Asbestos PD
Committee shall have delivered the “Fresenius Release” (as defined in the
Sealed Air Settlement Agreement), all as provided for in the Sealed Air
Settlement Agreement. In addition, in consideration for the Cryovac
Payment, (i) each of the SA Non-Debtor Affiliates shall irrevocably
release, acquit, and forever discharge the Sealed Air Indemnified Parties
from any and all (A) present and future Asbestos-Related Claims and/or
Demands relating thereto and (B) present and future SA Claims, Canadian
Claims, SA Debts, and SA Damages on the basis of, and arising from, or
attributable to (in whole or in part, directly or indirectly) the Fresenius
Transaction that have accrued or been asserted or that hereafter might
accrue or be asserted against the Sealed Air Indemnified Parties, and (ii)
each SA Non-Debtor Affiliate shall not institute, participate in, maintain,
maintain a right to or assert against the Sealed Air Indemnified Parties,
either directly or indirectly, on its own behalf, derivatively, or on behalf of
any other Entity, any and all present and future Asbestos-Related Claims
and/or Demands relating thereto, and any and all present and future SA
Claims, Canadian Claims, SA Debts, and SA Damages on the basis of,
arising from, or attributable to (in whole or in part, directly or indirectly)
the Fresenius Transaction;

The Certificate of Incorporation of each of the Debtors, as amended in

accordance with this Plan, shall have been filed with the secretary of state

or equivalent agency of its jurisdiction of incorporation;

The Exit Financing, in an amount and on such terms satisfactory to the
Debtors, shall be in full force and effect and available immediately upon
the occurrence of the Effective Date and after all necessary parties have
executed the documentation relating thereto;

The Debtors shall have obtained either (i) private letter rulings
establishing that the Asbestos PI Trust and the Asbestos PD Trust are
“qualified settlement funds” pursuant to section 468B of the IRC, or (ii) an
opinion of counsel regarding the tax classification of the Asbestos PI Trust
satisfactory to the Debtors and the Asbestos PI Trust, and an opinion of
counsel regarding the tax classification of the Asbestos PD Trust
satisfactory to the Debtors and the Asbestos PD Trust;

The Canadian Order shall have been issued by the Canadian Court and the
time for any appeal with respect to the Canadian Order shall have expired
and no appeal shall be pending or outstanding;

Each of the Sealed Air Settlement Agreement, the Sealed Air Settlement
Order, the Fresenius Settlement Agreement, and the Fresenius Settlement

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Order shall be in full force and effect and all of the terms and conditions
thereunder have been satisfied;

The injunctions, releases, and indemnifications set forth in the Fresenius
Settlement Agreement shall be approved and effected through one or more
Final Orders subject only to the transfer of the Fresenius Payment;

The Asbestos PI Trust Assets shall have been transferred to the Asbestos
PI Trust and the Asbestos PD Trust Assets shall have been transferred to
the Asbestos PD Trust;

In addition to the Asbestos PI Trust Assets, the Asbestos PI Trust shall
have received from the Parent or other Debtors: (A) an amount in Cash
equal to the difference, if any, between (1) five hundred twelve million
five hundred thousand dollars ($512,500,000), plus interest thereon from
December 21, 2002 until the Effective Date at a rate of 5.5% per annum
compounded annually (reduced by the total aggregate amount of Cryovac,
Inc.’s transfers to the Asbestos PD Trust as part of the Class 7A Initial
Payment and the Class 7B Initial Payment), and (2) the amount of Cash
delivered to the Asbestos PI Trust as part of the Cryovac Payment, plus
(B) the difference, if any, between (i) eighteen million (18,000,000) shares
of Sealed Air Common Stock (as adjusted for a two-for-one stock split on
March 16, 2007, and subject to further adjustment to the extent provided
in the Sealed Air Settlement Agreement) and (ii) the number of such
shares delivered to the Asbestos PI Trust as part of the Cryovac Payment.
Upon transfer to the Asbestos PI Trust, such assets shall be treated ‘as
Asbestos PI Trust Assets for all purposes, and shall be indefeasibly vested
in the Asbestos PI Trust free and clear of all claims, equity interests,
Encumbrances, and other interests of any Entity.

The Asbestos Insurance Transfer Agreement, the Asbestos PI Deferred
Payment Agreement, the Class 7A Asbestos PD Deferred Payment
Agreement, the Class 7B Asbestos PD Deferred Payment Agreement, the
Grace PI Guaranty, the Grace PD Guarantee Agreement for Class 7A, the
Grace PD Guarantee Agreement for Class 7B, the Plan Registration Rights
Agreement, the Share Issuance Agreement, the Asbestos PD/PI Inter-
Creditor Agreement, the Warrant, and the Warrant Agreement shall have
been executed and delivered by each of the parties thereto and shall be
binding, enforceable and in full force and effect;

The Sealed Air Action and Fresenius Action shall be dismissed with
prejudice;

The following actions against Fresenius shall have been dismissed with
prejudice: (1) Mesquita v. W. R. Grace & Co. et al., amended as Abner v.
W. R. Grace & Co. et al., No. 315465, Superior Court of California,
County of San Francisco (since transferred to the Bankruptcy Court as

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Adv. Pro. No. 01-08883); (2) Woodward v. Sealed Air Corporation (US)
et al., No. 01-10547 PBS, U.S. District Court, District of Massachusetts
(since transferred to the Bankruptcy Court as Case No. 01-CV-412); and
(3) Lewis v. W. R. Grace & Co. et al., U.S. Bankruptcy Court, District of
Delaware, Bankruptcy Case No. 01-1139/Adv. Case No. 01-08810; and

(r) All payments required under the CDN ZAI Minutes of Settlement (other
than any payments, if any, to be made by the Asbestos PI Trust) shall have
been made.

(s) The Court shall not have entered any order on or before the Effective
Date, including as part of the Confirmation Order, which holds that any
Claim or any right which may give rise to a Demand, which is included in
the definition of either Indirect PD Trust Claim or Indirect PI Trust Claim,
is not properly classified as an Asbestos PD Claim or Asbestos PI Claim
or is not subject to the Asbestos PD Channeling Injunction or the Asbestos
PI Channeling Injunction.

The Effective Date shall not occur unless and until each of the foregoing conditions is either
satisfied or waived by each of the Plan Proponents and expressly waived in writing by each of
the Sealed Air Corporation, Cryovac, Inc., and Fresenius (subject to the absolute discretion of
each). In no event shall the Effective Date occur nor shall Sealed Air Corporation or Cryovac,
Inc. have any obligation to make the Cryovac Payment (including the Asbestos PD Initial
Payment) at any time prior to the satisfaction of each and every one of the conditions specified in
this Section 7.8 without such express written consent by each of Sealed Air Corporation and
Cryovac, Inc. in its absolute discretion. In no event shall the Effective Date occur nor shall
Fresenius have any obligation to make the Fresenius Payment (including the Asbestos PD Initial
Payment) at any time prior to the satisfaction of each and every one of the conditions specified in
this Section 7.8 without such express written consent by Fresenius in its absolute discretion.
Notice of the occurrence of the Effective Date reflecting that the foregoing conditions have been
satisfied or waived shall: (i) be signed by each of the Plan Proponents and, in the case of a
waiver, by each of Sealed Air Corporation, Cryovac, Inc. and Fresenius, (ii) state the date of the
Effective Date, and (iii) be Filed with the Bankruptcy Court by counsel to the Debtors. No
waiver shall be effective unless it complies with the requirements of this provision.

7.9 MANAGEMENT OF THE REORGANIZED DEBTORS

On and after the Effective Date, the business and affairs of the Reorganized Debtors will
be managed by their respective Boards of Directors or equivalent thereof. Upon the Effective
Date, the Board of Directors of the Reorganized Parent shall be composed of at least five (5)
directors. The members of the Board of Directors of the Reorganized Parent shall be persons
identified to the Court prior to the Confirmation Hearing.

7.10 CORPORATE ACTION

On the Effective Date, the approval and effectiveness of matters provided under this Plan
involving the corporate structure of the Reorganized Debtors or corporate action by the

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Reorganized Debtors shall be deemed to have occurred and to have been authorized, and shall be
in effect from and after the Effective Date without requiring further action under applicable law,
regulation, order, or rule, including any action by the stockholders or directors of the Debtors,
the Debtors in Possession, or the Reorganized Debtors.

7.11 EFFECTUATING DOCUMENTS AND FURTHER TRANSACTIONS

Each of the officers of the Debtors and the Reorganized Debtors is authorized and
directed to execute, deliver, file, or record such contracts, instruments, releases, indentures, and
other agreements or documents and to take such actions as may be necessary or appropriate, for
and on behalf of the Debtors and the Reorganized Debtors, to effectuate and further evidence the
terms and conditions of this Plan, the transactions contemplated by this Plan, and any securities
issued pursuant to this Plan.

7.12 ALLOCATION OF PLAN DISTRIBUTIONS BETWEEN PRINCIPAL AND
INTEREST

To the extent that any Allowed Plan Claim entitled to a Distribution under this Plan
consists of indebtedness and accrued but unpaid interest thereon, such Distribution shall, for
federal income tax purposes, be allocated first to the principal amount of the Plan Claim and
then, to the extent the Distribution exceeds the principal amount of the Plan Claim, to the
accrued but unpaid interest.

7.13. NOSUCCESSOR LIABILITY

Except as otherwise expressly provided in this Plan, the Debtors, the Reorganized
Debtors, the Asbestos PI Committee, the Asbestos PD Committee, the Asbestos PI FCR, the
Asbestos PD FCR, the CCAA Representative Counsel, and the Asbestos Protected Parties will
not, pursuant to this Plan or otherwise, assume, agree to perform, pay, or indemnify creditors or
otherwise have any responsibilities for any liabilities or obligations of the Debtors or any of the
Debtors’ past or present Affiliates, as such liabilities or obligations may relate to or arise out of
the operations of or assets of the Debtors or any of the Debtors’ past or present Affiliates or any
of their respective successors, whether arising prior to, or resulting from actions, events, or
circumstances occurring or existing at any time prior to the Confirmation Date. Neither the
Asbestos Protected Parties, the Reorganized Debtors, the Asbestos PI Trust, the Asbestos PD
Trust, nor the CDN ZAI PD Claims Fund is, or shall be, a successor to the Debtors or any of the
Debtors’ past or present Affiliates by reason of any theory of law or equity, and none shall have
any successor or transferee liability of any kind or character, except that the Reorganized
Debtors, the Asbestos PI Trust, the Asbestos PD Trust, and the CDN ZAI PD Claims Fund shall
assume the obligations specified in this Plan and the Confirmation Order.

Except_as otherwise expressly provided in this Plan, effective automatically on the
Effective Date, the Asbestos Protected Parties shall be unconditionally, irrevocably and fully
released _from (a) any and all Asbestos-Related Claims, including (i) any and all Successor
Claims based_on or arising from, in whole or in part, directly or indirectly, or related to the
Cryovac Transaction and (ii) any and all Asbestos Claims, (b) any and all SA Claims, SA Debts,
SA Damages, including Successor Claims, based on, arising from, or attributable to (in whole or

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in part, directly or indirectly) the Fresenius Transaction, and (c) any other claims and causes of
action arising under Chapter 5 of the Bankruptcy Code or similar claims or causes of action
arising under state or any other law, including, if applicable, claims in the nature of fraudulent
transfer, successor liability, corporate veil piercing, or alter ego-type claims, as a consequence of
transactions, events, or circumstances involving or affecting the Debtors (or_any of their
predecessors) or any of their respective businesses or operations that occurred or existed prior to
the Effective Date. Notwithstanding the foregoing, nothing herein shall release any Asbestos
Insurance Entity from its obligations under any Asbestos Insurance Settlement Agreement or
Asbestos In-Place Insurance Coverage or Asbestos Insurance Reimbursement Agreement. For
the avoidance of doubt, and without limiting any defense, counterclaim, or other right of any of
the Sealed Air Indemnified Parties or the application of any other provision of the Plan
(including each of the injunctions and releases in the Plan), this Section 7.13 of the Plan does not
release the Sealed Air Indemnified Parties from any direct contractual indemnification obligation
that they may have to OneBeacon America Insurance Company under the 1996 CU Agreement
with respect to environmental claims asserted against the policies covered by that agreement
except where any such obligation is, gives rise to, is based on, arises out of, or otherwise relates
to any Asbestos Claim. For the avoidance of doubt, and without limiting any other defense,
counterclaim, or other right of any of the Sealed Air Indemnified Parties or the application of any
other provision of the Plan (including each of the other injunctions and releases in the Plan), this
Section 7.13 of the Plan does not release the Sealed Air Indemnified Parties from any contractual
indemnification and hold harmless obligations for which the Sealed Air Indemnified Parties are
directly obligated to CNA and that arise directly under (or are directly based on) the CNA/Old
Grace Delaware 5/30/97 Settlement Agreement except to the extent that any such obligation is,
gives rise to, is based on, arises out of, or otherwise relates to any Asbestos Claim. For the
further avoidance of doubt, CNA’s claims against the Sealed Air Indemnified Parties under or
based on any of the CNA/Old Grace Delaware Settlement Agreements that are Asbestos PI
Claims or Asbestos PD Claims shall be subject to the Asbestos PI Channeling Injunction or the
Asbestos PD Injunction and shall be treated as Class 6 Claims or Class 7A Claims under the
Joint Plan.

This section is not intended to preclude a governmental entity from enforcing its police
and regulatory powers.

7.14 DEEMED CONSOLIDATION OF THE DEBTORS FOR PLAN PURPOSES
ONLY

Subject to the occurrence of the Effective Date, the Debtors shall be deemed consolidated
under this Plan for Plan purposes only. Each and every Claim Filed or to be Filed against any of
the Debtors shall be deemed Filed against the deemed consolidated Debtors and shall be deemed
one Claim against and obligation of the deemed consolidated Debtors.

Such deemed consolidation, however, shall not (other than for purposes related to
funding Distributions under this Plan and as set forth above in this Section 7.14) affect: (1) the
legal and organizational structure of the Debtors; (ii) any Encumbrances that are required to be
maintained under this Plan (A) in connection with executory contracts or unexpired leases that
were entered into during the Chapter 11 Cases or that have been or will be assumed, (B) pursuant

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to this Plan, or (C) in connection with any Exit Financing; (iii) the Sealed Air Settlement
Agreement; and (iv) the Fresenius Settlement Agreement.

Notwithstanding anything contained in this Plan to the contrary, the deemed
consolidation of the Debtors shall not have any effect on any of the Plan Claims being reinstated
and left unimpaired under this Plan, and the legal, equitable, and contractual rights to which the
Holders of any such Plan Claims are entitled shall be left unaltered by this Plan.

7.15 INSURANCE NEUTRALITY

(a) Notwithstanding anything to the contrary in the Plan or any of the Plan
Documents, except as provided ip Sections 7.15(b) through 7.15(j) of the Plan: (i) nothing in the
Plan or any of the Plan Documents (including any other provision that purports to be preemptory
or supervening) shall in any way operate to, or have the effect of, impairing any Asbestos
Insurance Entity’s legal, equitable or contractual rights, if any, in any respect; and (ii) the rights
of each Asbestos Insurance Entity shall be determined under the applicable Asbestos Insurance
Policies, Asbestos In-Place Insurance Coverages, Asbestos Insurance Reimbursement
Agreements, or Asbestos Insurance Settlement Agreements.

(b) The Plan, the Plan Documents, and the Confirmation Order shall be binding on
the Debtors, the Reorganized Debtors, the Asbestos PI Trust and the holders of Class 6 Asbestos
PI Claims; provided, however, that to the extent that an Asbestos Insurance Entity is or may be a
holder of a Class 6 Asbestos PI Claim, the portions of the Plan and the Plan Documents
addressing holders of Class 6 Asbestos PI Claims shall be binding on such Asbestos Insurance
Entity only in its capacity as a holder of a Class 6 Asbestos PI Claim. The obligations, if any, of
the Asbestos PI Trust to pay holders of Asbestos PI Claims shall be determined pursuant to the
Plan, the Plan Documents and the Confirmation Order. Except as provided in Sections 7.15(e),
7.15(h) and 7.15(), none of (I) the Bankruptcy Court’s or District Court’s approval of the Plan or
the Plan Documents, (II) the Confirmation Order or any findings and conclusions entered with
respect to Confirmation, (III) any judgment, order, finding of fact, conclusion of law,
determination or statement (written or oral, made on or off the record) made by the Bankruptcy
Court or issued or affirmed by the District Court pursuant to 11 U.S.C. § 524(g)(3), or (IV) any
estimation or valuation of Asbestos PI Claims, either individually or in the aggregate (including,
without limitation, any agreement as to the valuation of Asbestos PI Claims or any value
attributed to the Asbestos PI Trust Assets) in the Chapter 11 Cases or otherwise, shall, with
respect to any Asbestos Insurance Entity, constitute a trial or hearing on the merits or an
adjudication or judgment; or accelerate (on the basis of the decision in or principles espoused in
UNR Industries, Inc. v. Continental Casualty Co., 942 F.2d 1101 (7" Cir. 1991) or otherwise) the
obligations, if any, of any Asbestos Insurance Entity under its Asbestos Insurance Policies or
Asbestos In-Place Insurance Coverage, as applicable; or be used as evidence or argument in any
forum to prove or claim:

(i) that any of the Debtors, the Reorganized Debtors, the Asbestos PI Trust,
or any Asbestos Insurance Entity is liable for, or otherwise obligated to indemnify or pay with
respect to, any individual Asbestos PI Claim or Demand;

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(ii) that the procedures established by the Plan, including without limitation
the Asbestos PI Trust Distribution Procedures, for evaluating and paying Asbestos PI Claims and
Demands (including the medical, causation or exposure criteria and disease values) are
reasonable or appropriate;

(iii) that the procedures established by the Plan, including without limitation
the Asbestos PI Trust Distribution Procedures, for evaluating and paying Asbestos PI Claims and
Demands (including the medical, causation or exposure criteria and disease values) are
consistent with any procedures that were used to evaluate or settle Asbestos PI Claims against
the Debtors before the Petition Date;

(iv) that the settlement of, or the value assigned to, any individual Asbestos PI
Claim pursuant to the Asbestos PI Trust Distribution Procedures was, is or will be reasonable
and/or otherwise appropriate;

(v) that any of the Asbestos Insurance Entities participated in the negotiation
of and/or consented to the Plan or any of the Plan Documents, including without limitation the
Asbestos PI Trust Distribution Procedures;

(vi) that any of the Debtors or the Asbestos PI Trust has suffered an insured
loss with respect to any Asbestos PI Claim or Demand; or

(vii) (A) the liability of the Debtors, the Reorganized Debtors or the Asbestos
PI Trust for Asbestos PI Claims or Demands, whether such Asbestos PI Claims or Demands are
considered individually or on an aggregate basis; or (B) the value of such Asbestos PI Claims o or
Demands, individually or in the aggregate.

For the avoidance of any doubt, nothing in this Section 7.15 of the Plan shall preclude the
Asbestos PI Trust from asserting in any subsequent coverage litigation:

(i) that the Asbestos PI Trust has assumed the liabilities and responsibilities
for all Asbestos PI Claims;

(ii) that the Plan or any of the Plan Documents, including without limitation
the Asbestos PI Trust Distribution Procedures, constitute a mechanism setting out a procedure
for determination of the approval/disapproval and valuation of Asbestos PI Claims which would
result in settlements that trigger coverage; or

(iii) that the Asbestos PI Trust’s liability for which the Asbestos PI Trust is
entitled to coverage under the Asbestos Insurance Policies is the full value for which a claim is
resolved by the Asbestos PI Trust and is not limited to just the amount that the Asbestos PI Trust
is able to pay on the claim.

Nothing in this Section 7.15 of the Plan shall preclude the Asbestos Insurance Entities from
disputing the assertions by the Asbestos PI Trust set forth in subsections (i) through (iii)
immediately above in any subsequent coverage litigation, but this Section 7.15 of the Plan

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likewise shall not be used by the Asbestos Insurance Entities as evidence that the Asbestos PI
Trust has acceded to the Asbestos Insurance Entities’ positions on those points.

(c) Nothing in this Section 7.15 of the Plan shall affect or limit, or be construed as
affecting or limiting, the protection afforded to any Settled Asbestos Insurance Company by the
Asbestos PI Channeling Injunction or the Asbestos PD Channeling Injunction.

(d) Nothing in the Plan or Plan Documents is intended, nor shall it be construed, to
preclude otherwise applicable principles of res judicata or collateral estoppels from being
applied against any Asbestos Insurance Entity with respect to any issue that has not been
withdrawn by the Asbestos Insurance Entity prior to issuance of the Confirmation Order and that
is actually litigated by such Asbestos Insurance Entity as part of its objections, if any, to
confirmation of the Plan or as part of any contested matter or adversary proceeding filed in
conjunction with or related to confirmation of the Plan.

(e) Each Asbestos Insurance Entity shall be bound by any Final Order, and related
Court findings and conclusions that, under the Bankruptcy Code, the transfer of Asbestos
Insurance Rights under the Asbestos Insurance Transfer Agreement is valid and enforceable
against each Asbestos Insurance Entity notwithstanding applicable non-bankruptcy law or any
anti-assignment provision in or incorporated into any Asbestos Insurance Policy, Asbestos In-
Place Insurance Coverage, Asbestos Insurance Reimbursement Agreement or Asbestos Insurance
Settlement Agreement.

(f) Each Asbestos Insurance Entity shall be bound by any Final Order that the
releases and injunctions as provided in the Plan are valid and enforceable against each Asbestos
Insurance Entity, and this Section 7.15 of the Plan is not intended, nor shall it be construed, to
limit the protections afforded to the Sealed Air Indemnified Parties or the Fresenius Indemnified
Parties by any Final Order approving such releases and injunctions in the Plan or to allow the
Asbestos Insurance Entities to undertake any action against any of the Sealed Air Indemnified
Parties or the Fresenius Indemnified Parties that is contrary to any such Final Order.

(g) If an Asbestos Insurance Entity that is not a Settled Asbestos Insurance Company
asserts that it has rights of contribution, indemnity, reimbursement, subrogation or other similar
claims (collectively, for purposes of this Section 7.15(g), “Contribution Claims”) against a
Settled Asbestos Insurance Company, (i) such Contribution Claims may be asserted as a defense
or offset against the Asbestos PI Trust or the Reorganized Debtors (as applicable) in any
Asbestos Insurance Action including such Asbestos Insurance Entity that is not a Settled
Asbestos Insurance Company, and the Asbestos PI Trust or the Reorganized Debtors (as
applicable) may assert the legal or equitable rights, if any, of the Settled Asbestos Insurance
Entity, and (ii) to the extent such Contribution Claim is determined to be valid, pursuant to a
Final Order, the liability (if any) of such Asbestos Insurance Entity that is not a Settled Asbestos
Insurance Company to the Asbestos PI Trust or the Reorganized Debtors (as applicable) shall be
reduced by the amount of such Contribution Claim.

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